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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

  DAVID KANEFSKY, Individually
  and On Behalf of All Others Similarly    Civ. No. 2:18-15536 (WJM)
  Situated,
                                           AMENDED CLASS ACTION
              Plaintiff,                   COMPLAINT FOR VIOLATION
                                           OF THE FEDERAL SECURITIES
        v.                                 LAWS

  HONEYWELL INTERNATIONAL                  JURY TRIAL DEMANDED
  INC., DARIUS ADAMCZYK, and
  THOMAS A. SZLOSEK,

              Defendants.

       Lead Plaintiff Charles M. Francisco III, individually and on behalf of all other
 persons similarly situated (hereinafter “Plaintiff”), by his undersigned attorneys,
 alleges in this Amended Class Action Complaint for Violation of the Federal
 Securities Laws (the “Complaint”) the following upon knowledge with respect to his
 own acts, and upon facts obtained through an investigation conducted by his counsel,
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 which included, inter alia: (a) review and analysis of relevant filings made by
 Honeywell International Inc. (“Honeywell”) with the United States Securities and
 Exchange Commission (the “SEC”); (b) review and analysis of Honeywell’s public
 documents, conference calls and press releases; (c) review and analysis of securities
 analysts’ reports and advisories concerning Honeywell; and (d) information readily
 obtainable on the Internet.
       Plaintiff believes that further substantial evidentiary support will exist for the
 allegations set forth herein after a reasonable opportunity for discovery. Most of the
 facts supporting the allegations contained herein are known only to Defendants or
 are exclusively within their control.
                            NATURE OF THE ACTION
       1.     This is a federal securities class action on behalf of a class consisting
 of all persons who purchased or otherwise acquired Honeywell securities from
 February 9, 2018 through October 19, 2018, inclusive (the “Class Period”), seeking
 to recover damages for violations of the federal securities laws under Sections 10(b)
 and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and Rule
 10b-5 promulgated thereunder, against Honeywell, and its corporate officers, Darius
 Adamczyk and Thomas A. Szlosek (collectively, “Defendants”) during the Class
 Period.
       2.     Honeywell has been at the epicenter of asbestos litigation for nearly
 two decades. In 1999, Honeywell acquired The Bendix Corporation, and with it took
 ownership of Bendix’s asbestos-related liabilities. Those liabilities arose from
 Bendix’s use of asbestos while manufacturing brakes over a forty-year period
 beginning in 1939. In its annual Form 10-K report for 2017 dated February 9, 2018
 (the “2017 10-K”), Honeywell estimated its Bendix asbestos-related liability to be
 $616 million. This figure was a gross underestimation of what the company’s Bendix
 asbestos-related liability truly was. As would be revealed, and only after intervention

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 from the SEC, Honeywell’s actual Bendix asbestos-related liability was almost three
 times as high—$1.703 billion.
       3.     Honeywell manufactured its initial Bendix estimates by manipulating
 the manner in which it was supposed to account for loss contingencies under
 Accounting Standards Codification (“ASC”) Rule 450. Honeywell also ignored
 generally accepted accounting principles, industry norms, and even its own
 processes for calculating asbestos-related liabilities for other segments of
 Honeywell’s business. Bendix was special, according to Honeywell, and for that
 reason the company claimed it was justified in giving investors a wildly misleading
 account of the risks arising from the Bendix asbestos-related liability.
       4.     Over the course of the Class Period, Honeywell repeatedly provided
 investors with materially incorrect accounts of its Bendix asbestos-related liability
 and false descriptions of the company’s internal controls over financial reporting and
 public disclosures. These misrepresentations were present in each quarterly and
 annual report that Honeywell filed with the SEC. As a result of these
 misrepresentations, Honeywell’s stock price during the Class Period was artificially
 inflated.
       5.     On August 23, 2018, investors began to discover the truth about the
 Bendix asbestos-related liability. In a report on Form 8-K filed with the SEC before
 market hours, Honeywell disclosed that it needed to “revise[] its accounting related
 to the time period associated with the determination of appropriate accruals for the
 legacy Bendix asbestos-related liability for unasserted claims” and indicated that its
 Bendix asbestos-related liability would need to be increased by $1.083 billion (from
 $610 million to $1.693 billion as of June 30, 2018).
       6.     Honeywell attempted to distract the market from this bad news,
 however. Contemporaneously with the Form 8-K, Honeywell issued a press release
 (also during pre-market hours) announcing a number of positive developments at the

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 company, including progress on its spin-offs of Garrett Motion Inc. and Resideo
 Technologies, Inc. (two of Honeywell’s subsidiaries). The press release also
 announced that Honeywell was increasing its full-year earnings-per-share guidance
 by $0.05 per share (to $8.10-$8.20). Reacting to these favorable announcements,
 analysts largely considered “today’s news as positive” and “expect[ed] the stock to
 outperform modestly on the back of the guidance raise and spin progress.” Despite
 this aggressive attempt to minimize any sell-off resulting from its massive increase
 in asbestos liability, Honeywell’s stock price still declined from an opening market
 price of $151.30 per share on August 23, 2018 to an adjusted closing price of
 $149.33 per share on August 24, 2018.
        7.     The next disclosure came on October 10, 2018, during trading hours,
 when the SEC’s Division of Corporation Finance released correspondence it had had
 with Honeywell on August 14 and 20, 2018 about its accounting for Bendix
 asbestos-related liability. The correspondence included an initial inquiry from the
 SEC and a response from John Tus, Honeywell’s Vice President and Controller. In
 its response, Tus admitted that Honeywell’s internal controls for determining the
 Bendix asbestos-related liability had been deficient, and intentionally so. Tus
 confirmed that, despite ASC 450 being “the authoritative accounting standard under
 U.S. GAAP concerning loss contingencies,” Honeywell “had not appropriately
 applied the provisions of ASC 450” due to the fact that its liability estimates did not
 “reflect the full term of the epidemiological projections in the measurement of such
 liability.”
        8.     Contrary to ASC 450, Honeywell had been estimating its Bendix
 asbestos-related liability for a five-year period (or five year horizon) only.
 Honeywell’s estimates, therefore, disregarded all potential for liability arising more
 than five years in the future. As admitted in its response, Tus explained that
 Honeywell “inappropriately relied on limited objective and verifiable data to justify

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 its use of a five-year horizon. [Honeywell] had obtained and used the data to properly
 value a liability, but made the incorrect judgment based on what the data would have
 otherwise indicated had it not truncated the liability at a five-year horizon.
 [Honeywell] did not consider or use all available evidence to evaluate whether they
 should apply the full term or any other time horizon of epidemiological projections
 to the liability that might have been more appropriate than a five-year time horizon
 based on that evidence.”
       9.     In other words, Honeywell had the necessary data and properly valued
 its asbestos-related liability, but deliberately chose to disclose only a fraction of that
 liability to the public. Honeywell thus directly contradicted the purpose of generally
 accepted accounting principles and the federal securities laws which is to provide
 investors and the public with accurate information about Honeywell’s business,
 including its asbestos-related liability.
       10.    The information contained in Honeywell’s correspondence with the
 SEC was material and, accordingly, it resulted in a sharp decline in the price of
 Honeywell’s stock. From an opening market price of $155.76 per share on October
 10, 2018, Honeywell’s stock price fell to an adjusted closing price of $147.24 per
 share on October 11, 2018. It would have fallen further, but for another attempt by
 Honeywell to conceal the truth behind its accounting scheme. Honeywell itself did
 not disclose the SEC correspondence regarding its accounting and, despite hosting
 an investor conference that same day, did not even mention the word “asbestos.”
       11.    On October 19, 2018, Honeywell was no longer able to keep investors
 in the dark about its Bendix liability accounting scheme. Before market hours, the
 company released its quarterly report on Form 10-Q for the third quarter of 2018
 (the “Q3’18 10-Q”). In it, Honeywell provided investors with the new Bendix
 asbestos-related liability figures as well as the fact that the SEC’s Division of



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 Enforcement had commenced an investigation into Honeywell’s Bendix accounting
 on September 13, 2018.
       12.    This was material news for Honeywell investors. Indeed, on October
 19, 2018, the Wall Street Journal immediately published an article, titled SEC Opens
 Investigation Into Honeywell’s Asbestos Accounting. In pertinent part, the article
 stated that the “Securities and Exchange Commission ha[d] opened an investigation
 into the company’s accounting for asbestos-related liabilities” following
 “discussions with the SEC that prompted it to correct and restate its asbestos
 liabilities by about $1.1 billion more than its prior estimate.”
       13.    Following Honeywell’s disclosure of the new Bendix liability figures
 and the SEC investigation, the company’s stock price declined substantially.
 Honeywell’s opening stock price on October 19, 2018 was $151.26 per share. From
 there, it declined to an adjusted market closing price of $146.28 per share on October
 22, 2018 (the following trading day), and continued to fall further on October 23,
 2018 ($144.35 adj. close) and October 24, 2018 ($139.31 adj. close).
       14.    Defendants concealed material information from investors about its
 Bendix asbestos-related liability. This deception misled the market about the risks
 of their investments in Honeywell as well as exposed investors to heightened
 regulatory scrutiny and penalties. As the truth concerning Defendants’ accounting
 scheme came to light, Honeywell’s stock price declined significantly. From a Class
 Period high of $161.28 per share, Honeywell’s stock eventually fell to $140.83 per
 share following the end of the Class Period. The rise and fall of Honeywell’s stock
 amounted to a total market capitalization loss of more than $14.8 billion.
       15.    Plaintiff and other Class members sustained significant damages as a
 result of the fraudulent conduct complained of herein. Defendants should be held
 liable for the damages that they have caused.



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                           JURISDICTION AND VENUE
       16.    The claims asserted herein arise under and pursuant to §§ 10(b) and
 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
 promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).
       17.    This Court has jurisdiction over the subject matter of this action
 pursuant to 28 U.S.C. §§ 1331 and 1337, and Section 27 of the Exchange Act, 15
 U.S.C. § 78aa.
       18.    Venue is proper in this District pursuant to § 27 of the Exchange Act
 and 28 U.S.C. §1391(b), as Honeywell’s principal executive offices are located
 within this Judicial District and a significant portion of Defendants’ business,
 actions, and the subsequent damages, took place within this District.
       19.    In connection with the acts, conduct and other wrongs alleged in this
 Complaint, Defendants, directly or indirectly, used the means and instrumentalities
 of interstate commerce, including but not limited to, the United States mail, interstate
 telephone communications and the facilities of the national securities exchange.
                                       PARTIES
       20.    Plaintiff purchased Honeywell securities at artificially inflated prices
 during the Class Period and was damaged upon the revelation of the Defendants’
 fraud. Plaintiff filed his certification evidencing his transactions previously with the
 Court in connection with his motion for appointment as Lead Plaintiff. Plaintiff’s
 certification is incorporated herein by reference.
       21.    Defendant Honeywell is incorporated in Delaware, with principal
 executive offices located at 115 Tabor Road, Morris Plains, New Jersey 07950.
 Honeywell’s common stock is traded on the NYSE, under the symbol “HON”.
       22.    Defendant Darius Adamczyk (“Adamczyk”) has served at all relevant
 times as Honeywell’s President and CEO and Chairman.



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       23.   Defendant Thomas A. Szlosek (“Szlosek”) has served at all relevant
 times as the Honeywell’s Chief Financial Officer.
       24.   Defendants Adamczyk and Szlosek are sometimes referred to herein as
 the “Individual Defendants.”
       25.   Each of the Individual Defendants:
             a.     directly participated in the management of Honeywell;
             b.     was directly involved in the day-to-day operations of Honeywell
                    at the highest levels;
             c.     was privy to confidential proprietary information concerning
                    Honeywell and its business and operations;
             d.     was directly or indirectly involved in drafting, producing,
                    reviewing and/or disseminating the materially false and
                    misleading statements and information alleged herein;
             e.     was directly or indirectly involved in the oversight or
                    implementation of Honeywell’s accounting and internal
                    controls;
             f.     was aware of or recklessly disregarded the fact that the materially
                    misleading false and misleading statements were being issued
                    concerning Honeywell; and/or
             g.     approved or ratified these statements in violation of the federal
                    securities laws.
       26.   Honeywell is liable for the acts of the Individual Defendants and its
 other employees under the doctrine of respondeat superior and common law
 principles of agency because all of the wrongful acts complained of herein were
 carried out within the scope of their employment.




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       27.    The scienter of the Individual Defendants and other employees and
 agents of Honeywell is similarly imputed to Honeywell under respondeat superior
 and common law agency principles.
       28.    Honeywell and the Individual Defendants are referred to herein,
 collectively, as the “Defendants.”
       29.    The Individual Defendants, because of their positions with Honeywell,
 possessed the power and authority to control the contents of Honeywell’s reports to
 the SEC, press releases, and presentations to securities analysts, money and portfolio
 managers, and institutional investors, i.e., the market. Each Individual Defendant
 was provided with copies of Honeywell’s reports and press releases alleged herein
 to be misleading prior to, or shortly after, their issuance and had the ability and
 opportunity to prevent their issuance or cause them to be corrected.
       30.    The Individual Defendants, because of their positions and access to
 material non-public information available to them, knew that the adverse facts
 specified herein had not been disclosed to, and were being concealed from, the
 public, and that the positive representations which were being made were then
 materially false and/or misleading . The Individual Defendants are liable for the false
 statements pleaded herein.
                         SUBSTANTIVE ALLEGATIONS
 A.    Background.
       31.    Honeywell is a multinational conglomerate that makes a variety of
 commercial and consumer products, engineering services, and aerospace systems.
       32.    Honeywell is a defendant in asbestos-related personal injury actions
 related to two predecessor companies, North American Refractories Company
 (“NARCO”), which was sold in 1986, and Bendix Friction Materials (“Bendix”)
 business, which was sold in 2014.



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       33.    NARCO produced refractory products (bricks and cement used in high
 temperature applications). Claimants from NARCO asbestos liabilities consist
 largely of individuals who allege exposure to NARCO asbestos-containing
 refractory products in an occupational setting.
       34.    Bendix manufactured automotive brake parts that contained chrysotile
 asbestos in an encapsulated form. Despite known health hazards, Bendix used
 asbestos in its brake- and clutch-pad products until 2001. Claimants of Bendix
 asbestos liabilities consist largely of individuals who allege exposure to asbestos
 from brakes from either performing or being in the vicinity of individuals who
 performed brake replacements.
       35.    Although Honeywell sold Bendix in 2014, Honeywell has been sued in
 tens of thousands of cases alleging exposure to asbestos from Bendix products, and
 between Honeywell and its insurance companies, over $1 billion has been spent to
 resolve the claims.
 B.    Asbestos Is Highly Toxic and Has Resulted in Hundreds of Billions in
       Liability.
       36.    Asbestos is a naturally occurring mineral fiber that occurs in rock and
 soil. Asbestos fibers are soft and flexible yet resistant to heat, electricity and
 chemical corrosion. Pure asbestos is an effective insulator, and it can also be mixed
 into cloth, paper, cement, plastic and other materials to make them stronger.
       37.    Because of its fiber strength and heat resistance asbestos has been used
 in a variety of building construction materials for insulation and as a fire retardant.
 Asbestos has also been used in a wide range of manufactured goods, mostly in
 building materials (roofing shingles, ceiling and floor tiles, paper products, and
 asbestos cement products), friction products (automobile clutch, brake, and
 transmission parts), heat-resistant fabrics, packaging, gaskets, and coatings.



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       38.    Asbestos is toxic to human beings and results in a range of known
 effects, from asymptomatic scarring of the lungs (pleural plaques) to functionally
 limiting disease, including asbestosis and fatal cancers of the lining of the chest,
 heart, abdomen and lungs. Asbestosis and lung cancer are generally related to the
 quantum of exposure and are found among workers. Mesothelioma is a cancer
 primarily of the pleura and peritoneum and can result from only trivial exposure and,
 thus, affects both workers and the general population, often presenting decades
 following exposure.
       39.    The health-related risks of exposure to asbestos have been documented
 since at least the 1st century AD, but it was not until several landmark scientific
 studies in the late 1950s through to the early 1960s that a definitive link between
 asbestos and asbestosis, lung cancer and mesothelioma was generally accepted.
 While the potency of different types of asbestos is debated, evidence has shown that
 all types of asbestos are carcinogenic to human beings.
       40.    In the US, the maximum exposure to asbestos is said to have occurred
 between the 1930s and the 1960s, with consumption peaking in 1973. Deaths from
 asbestos-related disease peaked between 1992 and 1997, which is consistent with
 the known lag between exposure and mortality. The spectre of mass litigation
 strategies still looms over companies.
 C.    Accounting for Liabilities.
       41.    In order to account for the mass amount of asbestos litigation, corporate
 reporting includes mandated annual reports. Accounting frameworks provide the
 means for disclosure of both financial and non-financial information. Financial
 disclosures are generally mandated through accounting standard regimes and
 promulgated standards such as International Financial Reporting Standards (IFRS)
 and generally accepted accounting principles (“GAAP”).



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        42.    ASC 450, Contingencies, the authoritative accounting standard under
 U.S. GAAP concerning loss contingencies, provides that a company must accrue for
 a loss when that loss is both probable and reasonably estimable (ASC 450-20-25-
 2). If a loss is reasonably possible but not probable and is reasonably estimable, then
 ASC 450-20-50-3 directs that a company disclose that contingent loss but not record
 an accrual. ASC 450-20 makes clear that the same standards for accrual and
 disclosure of contingent liabilities apply to both unasserted claims as well as asserted
 claims. Specifically, ASC 450-20-55-14 provides, “[w]ith respect to unasserted
 claims and assessments, an entity must determine the degree of probability that a
 suit may be filed or a claim or assessment may be asserted and the possibility of an
 unfavorable outcome. If an unfavorable outcome is probable and the amount of loss
 can be reasonably estimated, accrual of a loss is required by paragraph 450-20-25-
 2.”
        43.    Prior to August 2018, Honeywell accounted for Benidx related asbestos
 liabilities for a limited five-year horizon. As Honeywell would later admit, this
 accounting policy did not comply with the provisions of ASC 450 when measuring
 asbestos liabilities related to unasserted Bendix claims. This is because Honeywell
 possessed data that could yield a probable and reasonably estimable projection of
 liability under ASC 450 for the full term of the epidemiological projections beyond
 just five years.
        44.    Bendix claims have been addressed through the tort system since the
 mid-1970s, creating a body of historical claims information on which to rely when
 estimating a future projection of liability. Each year, Honeywell has a substantial
 body of real-time data of claims asserted, dismissal rates and resolution values that
 is more than sufficiently robust to support reliable estimates. For Bendix, historical
 claims data is readily available on a real-time basis through its day-to-day experience
 in the tort system. The robustness of this data supports the conclusion that

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 application of the claims data to the full term of the epidemiological projections
 yields a probable and reasonably estimable projection of liability under ASC 450.
       45.    Historically, Honeywell’s accounting process for recognition of the
 Bendix asbestos liability begins with notification of claims being asserted against
 Honeywell via outside counsel which also serves as the Bendix claims administrator.
 It continues with the processing of the claim and case resolution (either dismissal or
 settlement), the processing of any applicable settlement payments, the accounting
 for claims filings, dismissals and payment, the insurance recovery process, and ends
 with the related financial reporting and financial statement disclosures.
       46.    In addition to a liability for pending claims (claims filed in the tort
 system against Honeywell as of the financial statement date), Honeywell assesses
 the potential liability from unasserted claims (claims expected to be filed against
 Honeywell in future periods). The pending claims balance by disease category,
 including data on claim filings, settlements and dismissals, are reported to
 Honeywell on a monthly basis by its claims administrator.
       47.    The amount of the pending claims liability is calculated monthly by
 Honeywell representing a product of the pending claims balances by disease
 category multiplied by the average resolution values by disease category. The
 average resolution values by disease category are based on actual settlements and
 dismissals by disease category for the previous five years (the five year calibration
 period). These average resolution values are monitored by Honeywell quarterly and
 updated in the fourth quarter each year.
       48.    Honeywell utilized a third-party specialist to determine its liability for
 unasserted claims based on the following: Epidemiological projections of the future
 incidence of disease; historical claims rate experience by disease category in the tort
 system; and historical resolution values (settlements and dismissals) by disease
 category.

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       49.    The liability for unasserted claims is updated by the third-party
 specialist in the fourth quarter each year based on the factors described above. The
 historical claims information is provided to the third-party specialist by the third-
 party claims administrator.
       50.    As such, Honeywell’s estimated value of Bendix related liabilities
 included future anticipated claims based on historical claims filing experience and
 dismissal rates, disease classifications, and average resolution values in the tort
 system for the previous five years.
       51.    When assessing the data used to record the unasserted claims liability,
 Honeywell, its third-party specialists and its outside legal counsel focused on both
 historical data and emerging trends and discoveries. Significant weight was placed
 on the emerging science and studies that indicated the nature and application of the
 asbestos used in manufactured automotive brake parts by Bendix does not cause
 disease. Management also focused on evidence suggesting improvements in the tort
 system with regards to the resolution of asbestos claims (this information and
 insights having been provided to management by outside counsel).
       52.    Therefore, Honeywell, along with its third-party specialist and outside
 legal counsel, only determined a probable and reasonably estimable future liability
 for unasserted claims for the next five years.
       53.    However, as Honeywell would later admit, by using a limited five year
 period, Honeywell ignored what the data would have otherwise indicated had it not
 truncated the liability at a five-year horizon. Accordingly, Honeywell “did not
 consider or use all available evidence to evaluate whether they should apply the full
 term or any other time horizon of epidemiological projections to the liability that
 might have been more appropriate than a five-year time horizon based on that
 evidence.”



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       54.    Defendants knew of this error, but only decided to correct it after the
 SEC inquired about the limited period.
       55.    The SEC sent a letter to Defendants on August 15, 2018 stating:

       We note that you estimate your Bendix and NARCO asbestos related
       liabilities for future claims based on specific time periods subsequent
       to your balance sheet date. Please explain why you use different time
       periods for estimating the liabilities for future asbestos claims for your
       Bendix products asbestos liability and your NARCO-related asbestos
       liability. In your response, also please provide us with an analysis that
       explains your facts and circumstances as well as your basis under ASC
       450 to use those specific future time periods.
       56.    After just five days, Honeywell responded to the SEC via letter.
 Honeywell admitted that its accounting for Bendix related asbestos liability was
 incorrect, and that it would need to issue a restatement.
       57.    Honeywell stated, “[u]pon thorough consideration of the Staff’s
 comments in its review of the Form 10 submitted to the Staff in connection with the
 proposed spin-off of Garrett Motion Inc. and of the application of ASC 450,
 Honeywell determined that we had not appropriately applied the provisions of ASC
 450 when measuring asbestos liabilities related to unasserted Bendix
 claims. Specifically, we concluded that the appropriate application of ASC 450-20
 with respect to unasserted Bendix-related asbestos claims is to reflect the full term
 of the epidemiological projections in the measurement of such liability.           The
 Company intends to revise its historical consolidated financial statements in future
 filings to reflect the inclusion of the full term of the epidemiological projections
 (through 2059) in its measurement of liability for unasserted Bendix-related asbestos
 claims.”
       58.    On August 23, 2018 Honeywell announced to the public that it
 corrected its accounting related to the time horizon for estimating future Bendix



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 asbestos liabilities following a review by the SEC’s Division of Corporation
 Finance.
       59.    On September 9, 2018 the Division of Corporation Finance informed
 the company that this review had been closed.
       60.    On October 19, 2018 in the Q3’18 10-Q, Honeywell disclosed that the
 SEC’s Division of Corporation Finance had reviewed Honeywell’s prior accounting
 for liability for unasserted Bendix-related asbestos claims and that “[o]n September
 13, 2018, following completion of Corporation Finance’s review, the SEC Division
 of Enforcement advised that it has opened an investigation related to this matter.”
       61.    Accordingly, Honeywell did not comply with ASC 450 in determining
 to use a limited five year time period.
 D.    Honeywell’s Control Deficiency.
       62.    A control deficiency exists when the design or operation of a control
 does not allow management or employees, in the normal course of performing their
 assigned functions, to prevent or detect misstatements on a timely basis.
       63.    Honeywell determined that should adjust the Bendix asbestos liability
 to reflect the full term of the epidemiological projections through 2059, and
 therefore, determined that it had historically incorrectly applied the provisions of
 ASC 450, Contingencies, in measuring its Bendix asbestos liability related to
 unasserted claims.
       64.    Honeywell stated that this error “is an indication that a deficiency
 existed in the operation of an existing internal control since there was a failure to
 properly apply the key provisions of the control in establishing an estimate of
 unasserted Bendix asbestos claims liability related to the time horizon for which
 these claims would be asserted.”
       65.    As described above in the summary of the accounting process for
 unasserted claims, Honeywell uses a third-party specialist to assist in assessing the

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 required Bendix unasserted claims liability. In connection with the third-party
 specialist, Honeywell has designed a relevant internal control over that process that
 focuses on the analysis and validation of the Bendix asbestos unasserted claims
 liability.
        66.   The specific control activity is the “Bendix Reserves True-up” control,
 which states that “…Honeywell’s third-party service provider calculates the average
 resolution values on which Honeywell bases its estimates of the total liability
 associated with its current and future Bendix asbestos claims. The year-end reserve
 is updated based on the new average resolution values and is approved by
 Management.”
        67.   This control is specific to Bendix-related asbestos reserves where, on
 an annual basis, the Bendix- related asbestos reserves are adjusted to properly reflect
 current year estimates regarding both resolution values and estimated future
 claimants based on anticipated changes in the population of claims.
        68.   Management is highly involved in this internal control and has direct
 impact on the accounting of Bendix’s asbestos liability. Management reviews the
 specialist report for reasonableness of the unasserted claims liability and any
 increase/decrease from the prior year, and discusses with the specialist the
 significant actuarial inputs and reasons for the increase/decrease. Outside legal
 counsel specializing in asbestos-related claims is also included in those discussions.
        69.   Management has historically, as part of this process, held discussions
 with the specialist regarding the time horizon used for the estimation of the future
 unasserted claims. Management approves any adjustment to the unasserted claims
 liability amount based on this analysis and records the appropriate adjustment to the
 general ledger.
        70.   Honeywell admitted that it had identified an operating effectiveness
 deficiency related to this internal control activity.

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       71.    As part of the operation of the identified deficient Bendix control, a
 review of the conclusion on the unasserted claims liability occurred in connection
 with the data analysis and specialist report.
       72.    Honeywell found that in connection with the performance of this
 control, Honeywell inappropriately relied on limited objective and verifiable data to
 justify its use of a five-year horizon.
       73.    Honeywell under-reported its liability based on what the data would
 have otherwise indicated had it not truncated the liability at a five-year horizon.
       74.    Additionally, Honeywell did not consider or use all available evidence
 to evaluate whether they should apply the full term or any other time horizon of
 epidemiological projections to the liability that might have been more appropriate
 than a five-year time horizon based on that evidence.
       75.    Honeywell also had conversations between management, its third-party
 specialists and outside counsel about what appeared to be a movement of companies
 to extend out the time horizon.
       76.    These considerations were part of the Bendix control previously
 discussed. As such, Honeywell had a deficiency in its controls.
 E.    Management’s Responsibility for Financial Reporting.
       77.    Defendants represented in each of Honeywell’s periodic reports filed
 with the SEC on Forms 10-K and 10-Q that the financial statements therein
 conformed with GAAP.
       78.    GAAP are those principles recognized by the accounting profession as
 the conventions, rules, and procedures necessary to define accepted accounting
 practice at a particular time. GAAP are the official standards adopted by the
 American Institute of Certified Public Accountants (the “AICPA”), a private
 professional association, through three successor groups that it established, the
 Committee on Accounting Procedure, the Accounting Principles Board (the “APB”),

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 and the Financial Accounting Standards Board (the “FASB”). Effective July 1, 2009,
 the FASB issued the FASB ASC which superseded all prior FAS Standards and
 FASB Staff Positions regarding FAS Standards. The ASC is “the source of
 authoritative [GAAP] recognized by the FASB to be applied by nongovernmental
 entities.” (ASC, Topic 105, Sub-topic 10, § 5, ¶ 1.)
       79.    SEC Regulation S-X (17 C.F.R. § 210.4-01(a)(1)) states that financial
 statements filed with the SEC which are not prepared in compliance with GAAP are
 presumed to be misleading and inaccurate. Regulation S-X requires that interim
 financial statements must also comply with GAAP, with the exception that interim
 financial statements need not include disclosures that would be duplicative of
 disclosures accompanying annual financial statements. 17 C.F.R. § 210.10-01(a).
       80.    Senior management is responsible for a company’s financial reporting.
 The Code of Professional Conduct developed by the American Institute of Certified
 Public Accounts states in pertinent part:

       The financial statements are management’s responsibility. The
       auditor’s responsibility is to express an opinion on the financial
       statements. Management is responsible for adopting sound accounting
       policies and for establishing and maintaining an internal control
       structure that will, among other things, record, process, summarize, and
       report financial data that is consistent with management’s assertions
       embodied in the financial statements. The entity’s transactions and the
       related assets, liabilities, and equity are within the direct knowledge and
       control of management. The auditor’s knowledge of these matters and
       internal control is limited to that acquired through the audit. Thus, the
       fair presentation of financial statements in conformity with generally
       accepted accounting principles is an implicit and integral part of
       management’s responsibility.

 (1 CCH AICPA Professional Standards, SAS No. 1, § 110.02 (1982).)
       81.    Section   13    of   the   Exchange       Act   confirms   management’s
 responsibilities for an entity’s internal controls. “Every issuer which has a class of


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 securities registered pursuant to section 78l of this title and every issuer which is
 required to file reports pursuant to section 78o(d) of this title shall- . . . devise and
 maintain a system of internal accounting controls sufficient to provide reasonable
 assurances that- . . . transactions are recorded as necessary (I) to permit preparation
 of financial statements in conformity with generally accepted accounting principles
 or any other criteria applicable to such statements . . . .” (15 U.S.C. §
 77m(b)(2)(B)(ii)(I).)
       82.    Honeywell’s management, including its CEO and CFO, conducted
 evaluations of the effectiveness of Honeywell’s internal control over financial
 reporting based on the framework in Internal Control – Integrated Framework issued
 by the Committee of Sponsoring Organizations of the Treadway Commission (the
 “COSO Report”). The COSO Report defines internal control as a process that is
 “designed to provide reasonable assurance regarding the achievement of objectives”
 related to the effectiveness and efficiency of operations, the reliability of financial
 reporting, and compliance with applicable laws and regulations. The term “reliable”
 as used in the COSO Report requires that financial statements prepared for external
 purposes are fairly presented in conformity with GAAP and regulatory requirements.
 Inherent in the fair presentation of financial statements is the concept of statement
 materiality. Reliability of financial reporting applies to published financial
 statements, including interim and consolidated financial statements, and selected
 financial data, such as earnings releases, derived from these financial statements.
       83.    An error in previously issued financial statements is an “error in
 recognition, measurement, presentation, or disclosure in financial statements
 resulting from mathematical mistakes, mistakes in the application of [GAAP], or
 oversight or misuse of facts that existed at the time the financial statements were
 prepared.” A “retrospective application” is the “application of a different accounting
 principle to one or more previously issued financial statements . . . .” A “restatement”

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 is the “process of revising previously issued financial statements to reflect the
 correction of an error in those financial statements.” (ASC, Topic 250, Sub-topic 10,
 § 20.)
          84.   Upon the discovery of an error in a previously issued financial
 statement, the “error . . . shall be reported as an error correction[] by restating the
 prior-period financial statements. Restatement requires all of the following: [a] The
 cumulative effect on periods prior to those presented shall be reflected in the carrying
 amounts of assets and liabilities as of the beginning of the first period presented[;]
 [b] An offsetting adjustment, if any, shall be made to the opening balance of retained
 earnings (or other appropriate components of equity or net assets in the statement of
 financial position) for that period[;] [and] [c] Financial statements for each
 individual prior period presented shall be adjusted to reflect correction of the period-
 Upon restating financial statements for the purpose of correcting an error, “the entity
 shall disclose that its previously issued financial statements have been restated, along
 with a description of the nature of the error. The entity also shall disclose both of the
 following: [a] The effect of the correction on each financial statement line item and
 any per-share amounts affected for each prior period presented [and] [b] The
 cumulative effect of the change on retained earnings or other appropriate
 components of equity or net assets in the statement of financial position . . . .” (ASC,
 Topic 250, Sub-topic 10, § 50, ¶ 7.) specific effects of the error.” (ASC, Topic 250,
 Sub-topic 10, § 45, ¶ 23.) Other circumstances requiring the revision of financial
 statements, neither of which are applicable here, include a change in the reporting
 entity or a change in an accounting principle. (ASC, Topic 250, Sub-topic 10, § 45.)
          85.   Upon restating financial statements for the purpose of correcting an
 error, “the entity shall disclose that its previously issued financial statements have
 been restated, along with a description of the nature of the error. The entity also shall
 disclose both of the following: [a] The effect of the correction on each financial

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 statement line item and any per-share amounts affected for each prior period
 presented [and] [b] The cumulative effect of the change on retained earnings or other
 appropriate components of equity or net assets in the statement of financial position
 . . . .” (ASC, Topic 250, Sub-topic 10, § 50, ¶ 7.)
       86.    Restating financial statements dilute public confidence in the
 companies to which they belong. Further, restatements confuse those who use them.
 Consequently, financial statements prepared in accordance with GAAP should be
 considered final, and only restated for the purpose of correcting material errors.
 (ASC, Topic 105, Sub-topic 10, § 5, ¶ 6.)
       87.    As a result of Honeywell’s improper accounting Honeywell concluded
 it had a “significant deficiency” in internal controls over financial reporting and that
 it would need to restate prior periods.
       88.    Specifically, Honeywell found that the effects of a cumulative
 correction on Honeywell’s projected 2018 income statement, would be material.
 Honeywell determined that the impact of correcting the error in 2018 would be a
 charge of (i) $1,018 million to income before taxes, and (ii) $770 million to net
 income. This would represent a greater than 10% impact on both of the forecasted
 2018 amounts.
       89.    Honeywell calculated the cumulative effect of the uncorrected error on
 the balance sheets and determined that the error would have a -6.5% effect on net
 income and a -5% on comprehensive income for the year ended December 31, 2017.
       90.    Accordingly, Honeywell concluded that the error cannot be corrected
 through the 2018 income statement and must, therefore be corrected via a revision
 of prior periods.
       91.    Honeywell also determined that it was appropriate to revise prior
 periods when correcting the error under SAB 99. Honeywell admits that this
 consideration implies that there was information available that should have caused

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 Honeywell to modify the time horizon used for the Bendix unasserted claims liability
 during those prior periods.
          92.   Honeywell restated its estimate for asbestos liability claims in the third
 quarter of 2018 in relation to the SEC’s corporation finance division review of the
 company's annual report for 2017. That report included Honeywell’s accounting for
 legacy asbestos claims from its former Bendix business
          93.   Honeywell’s new estimate for its asbestos-related liabilities, as of Dec.
 31, 2017, projects out to 2059 and is $2.61 billion, $1.087 billion higher than
 Honeywell’s prior estimate, solely due to an increase in Bendix liability.
          94.   Additionally, Honeywell’s insurance recoveries for asbestos-related
 liabilities were raised to $503 million, as of December 31, 2017, $68 million higher
 than its previous estimate.
 F.       Honeywell Made Materially False and Misleading Statements.
          95.   Throughout the Class Period, Defendants made materially false and
 misleading statements regarding the company’s business, operational and
 compliance policies. Specifically, Defendants made false and/or misleading
 statements and/or failed to disclose that: (i) Honeywell’s Bendix asbestos-related
 liability was greater than initially reported; (ii) Honeywell maintained improper
 accounting practices and controls over financial reporting and public disclosures in
 connection with its Bendix asbestos-related liability; and (iii) as a result,
 Honeywell’s public statements were materially false and misleading at all relevant
 times.
                               February 9, 2018 Form 10-K
          96.   On February 9, 2018, the start of the Class Period, Honeywell filed an
 annual report on Form 10-K with the SEC, announcing its financial and operating
 results for the quarter and year ended December 31, 2017. Adamczyk and Szlosek
 signed the 2017 10-K on behalf of Honeywell.

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       97.    The 2017 10-K contained a series of “Notes” to its consolidated
 financial statements. Note 19, titled “Commitments and Contingencies,” discussed
 the company’s asbestos-related liabilities. Within Note 19, Honeywell represented
 that its total Bendix asbestos-related liability was as of December 31, 2017 was $616
 million. This representation was false and materially misleading because
 Honeywell’s true Bendix asbestos-related liability as of December 31, 2017 was
 $1.703 billion, nearly three times more than the amount represented.
       98.    The representation was also false and materially misleading because it
 stated that Honeywell was complying with generally accepted accounting principles
 and various accounting standards, namely ASC 450, in calculating this figure. It was
 not. Honeywell was, in fact, not adhering to ASC 450 or, for that matter, industry
 norms. Instead of estimating its Bendix asbestos-related liability to account for the
 full term of the epidemiological studies, Honeywell was cutting off its estimates after
 five years, thus disregarding any potential for liability from that point forward.
 Honeywell provided its $616 million estimate without any warning that the estimate
 was unsupported by, contrary to, and in violation of applicable accounting standards.
       99.    Within Note 19, Honeywell also provided investors with a description
 of its method for determining the company’s Bendix asbestos-related liability. In
 pertinent part, the 2017 Form 10-K stated:

       Our consolidated financial statements reflect an estimated liability for
       resolution of pending (claims actually filed as of the financial statement
       date) and future Bendix-related asbestos claims. We have valued
       Bendix pending and future claims using average resolution values for
       the previous five years. We update the resolution values used to
       estimate the cost of Bendix pending and future claims during the fourth
       quarter each year.

       The liability for future claims represents the estimated value of future
       asbestos related bodily injury claims expected to be asserted against


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       Bendix over the next five years. Such estimated cost of future Bendix-
       related asbestos claims is based on historic claims filing experience and
       dismissal rates, disease classifications, and resolution values in the tort
       system for the previous five years. In light of the uncertainties
       inherent in making long-term projections, as well as certain factors
       unique to friction product asbestos claims, we do not believe that we
       have a reasonable basis for estimating asbestos claims beyond the
       next five years. The methodology used to estimate the liability for
       future claims is similar to that used to estimate the liability for future
       NARCO-related asbestos claims.
       100. This statement was materially false and misleading. Honeywell knew
 that it was able to “estimat[e] asbestos claims beyond the next five years,” but
 intentionally decided not to do so. After the SEC’s Division of Corporation Finance
 sent Honeywell its August 14, 2018 letter, Honeywell quickly changed its
 accounting methods to conform with ACS 450 and began estimating its Bendix
 asbestos-related liability to account for the full term of the epidemiological studies.
 Thus, Honeywell, Adamczyk, and Szlosek lied when they told investors that the
 company did not have the ability to estimate Bendix-related liabilities for a period
 greater than five years in the future.
       101. The 2017 10-K also indicates that Honeywell had net income of $1.655
 billion attributed to Honeywell and comprehensive income of $2.177 billion.
 However, unbeknownst to investors this number was false and misleading as
 Honeywell had actually inflated its net income by 6.5% and comprehensive income
 by 5% by limiting asbestos liability to just five years. In other words, had Honeywell
 properly accounted for its $1.703 billion of Bendix asbestos-related liability, the
 company’s net income and comprehensive income would have been decreased by
 6.5% and 5%, respectively.
       102. In connection with Honeywell’s 2017 10-K, Adamczyk and Szlosek
 each certified pursuant to the Sarbanes-Oxley Act of 2002 that they reviewed the
 2017 10-K. Specifically, Adamczyk and Szlosek each certified that:


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       1. I have reviewed this Annual Report on Form 10-K of Honeywell
          International Inc.;

       2. Based on my knowledge, this report does not contain any untrue
          statement of a material fact or omit to state a material fact
          necessary to make the statements made, in light of the
          circumstances under which such statements were made, not
          misleading with respect to the period covered by this report;

       3. Based on my knowledge, the financial statements, and other
          financial information included in this report, fairly present in all
          material respects the financial condition, results of operations and
          cash flows of the registrant as of, and for, the periods presented in
          this report;

       4. The registrant’s other certifying officer and I are responsible for
          establishing and maintaining disclosure controls and procedures (as
          defined in Exchange Act Rules 13a-15(e) and 15d-15(e)) and
          internal control over financial reporting (as defined in Exchange Act
          Rules 13a-15(f) and 15d-15(f)) for the registrant and have:

          a) designed such disclosure controls and procedures, or caused such
             disclosure controls and procedures to be designed under our
             supervision, to ensure that material information relating to the
             registrant, including its consolidated subsidiaries, is made known
             to us by others within those entities, particularly during the
             period in which this report is being prepared;

          b) designed such internal control over financial reporting, or
             caused such internal control over financial reporting to be
             designed under our supervision, to provide reasonable
             assurance regarding the reliability of financial reporting and
             the preparation of financial statements for external purposes
             in accordance with generally accepted accounting principles;

          c) evaluated the effectiveness of the registrant’s disclosure controls
             and procedures and presented in this report our conclusions about
             the effectiveness of the disclosure controls and procedures, as of


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             the end of the period covered by this report based on such
             evaluation; and

          d) disclosed in this report any change in the registrant’s internal
             control over financial reporting that occurred during the
             registrant’s most recent fiscal quarter (the registrant’s fourth
             fiscal quarter in the case of an annual report) that has materially
             affected, or is reasonably likely to materially affect, the
             registrant’s internal control over financial reporting;

       5. The registrant’s other certifying officer and I have disclosed, based
          on our most recent evaluation of internal control over financial
          reporting, to the registrant’s auditors and the audit committee of the
          registrant’s board of directors (or persons performing the equivalent
          functions):

          a) all significant deficiencies and material weaknesses in the
             design or operation of internal control over financial reporting
             which are reasonably likely to adversely affect the registrant’s
             ability to record, process, summarize and report financial
             information; and

          b) any fraud, whether or not material, that involves management
             or other employees who have a significant role in the
             registrant’s internal control over financial reporting.

       103. Adamczyk’s and Szlosek’s certifications were false and/or materially
 misleading because the 2017 10-K in fact did not “fairly present in all material
 respects the financial condition.” As alleged previously, Honeywell’s Bendix
 asbestos-related liability was not $616 million, but instead nearly three times as
 much, $1.703 billion, as of December 31, 2017. Moreover, contrary to Adamczyk’s
 and Szlosek’s claims in the certifications that they had “designed such internal
 control over financial reporting . . . to provide reasonable assurance regarding the
 reliability of financial reporting,” they developed controls that systematically
 manipulated the company’s accounting for Bendix asbestos-related liability. As


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 confirmed by Honeywell’s August 20, 2018 response to the SEC, Adamczyk and
 Szlosek were deeply involved in the accounting for and controls over the Bendix
 asbestos-related liability. These controls, according to Honeywell, were designed to
 ignore potential liability outside of a five-year period into the future and, therefore,
 violated generally accepted accounting principles. Accordingly, Adamczyk’s and
 Szlosek’s certifications were knowingly false at the time they were signed.
       104. The omissions and/or misrepresentations in the 2017 10-K were
 material because the true facts would have altered the total mix of information
 available to investors when deciding to purchase Honeywell stock.
                               April 20, 2018 Form 10-Q
       105. On April 20, 2018, Honeywell filed a quarterly report on Form 10-Q
 with the SEC, announcing the company’s financial and operating results for the first
 quarter of 2018 (the “Q1’18 10-Q”). Jennifer H. Mak signed the Q1’18 10-Q on
 behalf of Honeywell.
       106. The Q1’18 10-Q contained a series of “Notes” to its consolidated
 financial statements. Note 14, titled “Commitments and Contingencies,” discussed
 the company’s asbestos-related liabilities. Within Note 14, Honeywell represented
 that its total Bendix asbestos-related liability was as of December 31, 2017 was $616
 million and as of March 31, 2018 was $615 million. This representation was false
 and materially misleading because Honeywell’s true Bendix asbestos-related
 liability as of December 31, 2017 was $1.703 billion, nearly three times more than
 the amount represented.
       107. The representation was also false and materially misleading because it
 stated that Honeywell was complying with generally accepted accounting principles
 and various accounting standards, namely ASC 450, in calculating this figure. It was
 not. Honeywell was, in fact, not adhering to ASC 450 or, for that matter, industry
 norms. Instead of estimating its Bendix asbestos-related liability to account for the

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 full term of the epidemiological studies, Honeywell was cutting off its estimates after
 five years, thus disregarding any potential for liability from that point forward.
 Honeywell provided its Bendix asbestos-related liability estimate without any
 warning that the estimate was unsupported by, contrary to, and in violation of
 applicable accounting standards.
       108. Within Note 14, Honeywell also provided investors with a description
 of its method for determining the company’s Bendix asbestos-related liability. In
 pertinent part, the Q1’18 10-Q stated:

       Our consolidated financial statements reflect an estimated liability for
       resolution of pending (claims actually filed as of the financial statement
       date) and future Bendix-related asbestos claims. We have valued
       Bendix pending and future claims using average resolution values for
       the previous five years. We update the resolution values used to
       estimate the cost of Bendix pending and future claims during the fourth
       quarter each year.

       The liability for future claims represents the estimated value of future
       asbestos related bodily injury claims expected to be asserted against
       Bendix over the next five years. Such estimated cost of future Bendix-
       related asbestos claims is based on historic claims filing experience and
       dismissal rates, disease classifications, and resolution values in the tort
       system for the previous five years. In light of the uncertainties
       inherent in making long-term projections, as well as certain factors
       unique to friction product asbestos claims, we do not believe that we
       have a reasonable basis for estimating asbestos claims beyond the
       next five years. The methodology used to estimate the liability for
       future claims is similar to that used to estimate the liability for future
       NARCO-related asbestos claims.

       109. This statement was materially false and misleading. Honeywell knew
 that it was able to “estimat[e] asbestos claims beyond the next five years,” but
 intentionally decided not to do so. After the SEC’s Division of Corporation Finance
 sent Honeywell its August 14, 2018 letter, Honeywell quickly changed its


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 accounting methods to conform with ACS 450 and began estimating its Bendix
 asbestos-related liability to account for the full term of the epidemiological studies.
 Thus, Honeywell, Adamczyk, and Szlosek lied when they told investors that the
 company did not have the ability to estimate Bendix-related liabilities for a period
 greater than five years in the future.
       110. In connection with Honeywell’s Q1’18 10-Q, Defendants Adamczyk
 and Szlosek each certified pursuant to SOX that they reviewed the Q1’18 10-Q.
 Specifically, Adamczyk and Szlosek each certified that:

       1. I have reviewed this Quarterly Report on Form 10-Q of Honeywell
          International Inc.;

       2. Based on my knowledge, this report does not contain any untrue
          statement of a material fact or omit to state a material fact
          necessary to make the statements made, in light of the
          circumstances under which such statements were made, not
          misleading with respect to the period covered by this report;

       3. Based on my knowledge, the financial statements, and other
          financial information included in this report, fairly present in all
          material respects the financial condition, results of operations and
          cash flows of the registrant as of, and for, the periods presented in
          this report;

       4. The registrant’s other certifying officer and I are responsible for
          establishing and maintaining disclosure controls and procedures (as
          defined in Exchange Act Rules 13a-15(e) and 15d-15(e)) and
          internal control over financial reporting (as defined in Exchange Act
          Rules 13a-15(f) and 15d-15(f)) for the registrant and have:

           a) designed such disclosure controls and procedures, or caused such
              disclosure controls and procedures to be designed under our
              supervision, to ensure that material information relating to the
              registrant, including its consolidated subsidiaries, is made known




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             to us by others within those entities, particularly during the
             period in which this report is being prepared;

          b) designed such internal control over financial reporting, or
             caused such internal control over financial reporting to be
             designed under our supervision, to provide reasonable
             assurance regarding the reliability of financial reporting and
             the preparation of financial statements for external purposes
             in accordance with generally accepted accounting principles;

          c) evaluated the effectiveness of the registrant’s disclosure controls
             and procedures and presented in this report our conclusions about
             the effectiveness of the disclosure controls and procedures, as of
             the end of the period covered by this report based on such
             evaluation; and

          d) disclosed in this report any change in the registrant’s internal
             control over financial reporting that occurred during the
             registrant’s most recent fiscal quarter (the registrant’s fourth
             fiscal quarter in the case of an annual report) that has materially
             affected, or is reasonably likely to materially affect, the
             registrant’s internal control over financial reporting;

       5. The registrant’s other certifying officer and I have disclosed, based
          on our most recent evaluation of internal control over financial
          reporting, to the registrant’s auditors and the audit committee of the
          registrant’s board of directors (or persons performing the equivalent
          functions):

          a) all significant deficiencies and material weaknesses in the
             design or operation of internal control over financial reporting
             which are reasonably likely to adversely affect the registrant’s
             ability to record, process, summarize and report financial
             information; and

          b) any fraud, whether or not material, that involves management
             or other employees who have a significant role in the
             registrant’s internal control over financial reporting.



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       111. Adamczyk’s and Szlosek’s certifications were false and/or materially
 misleading because the Q1’18 10-Q in fact did not “fairly present in all material
 respects the financial condition.” As alleged previously, Honeywell’s Bendix
 asbestos-related liability was not $616 million, but instead nearly three times as
 much, $1.703 billion, as of December 31, 2017. Moreover, contrary to Adamczyk’s
 and Szlosek’s claims in the certifications that they had “designed such internal
 control over financial reporting . . . to provide reasonable assurance regarding the
 reliability of financial reporting,” they developed controls that systematically
 manipulated the company’s accounting for Bendix asbestos-related liability. As
 confirmed by Honeywell’s August 20, 2018 response to the SEC, Adamczyk and
 Szlosek were deeply involved in the accounting for and controls over the Bendix
 asbestos-related liability. These controls, according to Honeywell, were designed to
 ignore potential liability outside of a five-year period into the future and, therefore,
 violated generally accepted accounting principles. Accordingly, Adamczyk’s and
 Szlosek’s certifications were knowingly false at the time they were signed.
       112. The omissions and/or misrepresentations in the Q1’18 10-Q were
 material because the true facts would have altered the total mix of information
 available to investors when deciding to purchase Honeywell stock.
                               July 20, 2018 Form 10-Q
       113. On July 20, 2018, Honeywell filed a quarterly report on Form 10-Q
 with the SEC, announcing the company’s financial and operating results for the
 second quarter of 2018 (the “Q2’18 10-Q”). John J. Tus signed the Q2’18 10-Q on
 behalf of Honeywell.
       114. The Q2’18 10-Q contained a series of “Notes” to its consolidated
 financial statements. Note 15, titled “Commitments and Contingencies,” discussed
 the company’s asbestos-related liabilities. Within Note 15, Honeywell represented
 that its total Bendix asbestos-related liability was as of December 31, 2017 was $616

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 million and as of June 30, 2018 was $610 million. This representation was false and
 materially misleading because Honeywell’s true Bendix asbestos-related liability as
 of December 31, 2017 was $1.703 billion, nearly three times more than the amount
 represented.
       115. The representation was also false and materially misleading because it
 stated that Honeywell was complying with generally accepted accounting principles
 and various accounting standards, namely ASC 450, in calculating this figure. It was
 not. Honeywell was, in fact, not adhering to ASC 450 or, for that matter, industry
 norms. Instead of estimating its Bendix asbestos-related liability to account for the
 full term of the epidemiological studies, Honeywell was cutting off its estimates after
 five years, thus disregarding any potential for liability from that point forward.
 Honeywell provided its Bendix asbestos-related liability estimate without any
 warning that the estimate was unsupported by, contrary to, and in violation of
 applicable accounting standards.
       116. Within Note 15, Honeywell also provided investors with a description
 of its method for determining the company’s Bendix asbestos-related liability. In
 pertinent part, the Q1’18 10-Q stated:

       Our consolidated financial statements reflect an estimated liability for
       resolution of pending (claims actually filed as of the financial statement
       date) and future Bendix-related asbestos claims. We have valued
       Bendix pending and future claims using average resolution values for
       the previous five years. We update the resolution values used to
       estimate the cost of Bendix pending and future claims during the fourth
       quarter each year.

       The liability for future claims represents the estimated value of future
       asbestos related bodily injury claims expected to be asserted against
       Bendix over the next five years. Such estimated cost of future Bendix-
       related asbestos claims is based on historic claims filing experience and
       dismissal rates, disease classifications, and resolution values in the tort
       system for the previous five years. In light of the uncertainties

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       inherent in making long-term projections, as well as certain factors
       unique to friction product asbestos claims, we do not believe that we
       have a reasonable basis for estimating asbestos claims beyond the
       next five years. The methodology used to estimate the liability for
       future claims is similar to that used to estimate the liability for future
       NARCO-related asbestos claims.

       117. This statement was materially false and misleading. Honeywell knew
 that it was able to “estimat[e] asbestos claims beyond the next five years,” but
 intentionally decided not to do so. After the SEC’s Division of Corporation Finance
 sent Honeywell its August 14, 2018 letter, Honeywell quickly changed its
 accounting methods to conform with ACS 450 and began estimating its Bendix
 asbestos-related liability to account for the full term of the epidemiological studies.
 Thus, Honeywell, Adamczyk, and Szlosek lied when they told investors that the
 company did not have the ability to estimate Bendix-related liabilities for a period
 greater than five years in the future.
       118. In connection with Honeywell’s Q2’18 10-Q, Defendants Adamczyk
 and Szlosek each certified pursuant to SOX that they reviewed the Q2’18 10-Q.
 Specifically, Adamczyk and Szlosek each certified that:

       1. I have reviewed this Quarterly Report on Form 10-Q of Honeywell
          International Inc.;

       2. Based on my knowledge, this report does not contain any untrue
          statement of a material fact or omit to state a material fact
          necessary to make the statements made, in light of the
          circumstances under which such statements were made, not
          misleading with respect to the period covered by this report;

       3. Based on my knowledge, the financial statements, and other
          financial information included in this report, fairly present in all
          material respects the financial condition, results of operations and
          cash flows of the registrant as of, and for, the periods presented in
          this report;


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       4. The registrant’s other certifying officer and I are responsible for
          establishing and maintaining disclosure controls and procedures (as
          defined in Exchange Act Rules 13a-15(e) and 15d-15(e)) and
          internal control over financial reporting (as defined in Exchange Act
          Rules 13a-15(f) and 15d-15(f)) for the registrant and have:

          a) designed such disclosure controls and procedures, or caused such
             disclosure controls and procedures to be designed under our
             supervision, to ensure that material information relating to the
             registrant, including its consolidated subsidiaries, is made known
             to us by others within those entities, particularly during the
             period in which this report is being prepared;

          b) designed such internal control over financial reporting, or
             caused such internal control over financial reporting to be
             designed under our supervision, to provide reasonable
             assurance regarding the reliability of financial reporting and
             the preparation of financial statements for external purposes
             in accordance with generally accepted accounting principles;

          c) evaluated the effectiveness of the registrant’s disclosure controls
             and procedures and presented in this report our conclusions about
             the effectiveness of the disclosure controls and procedures, as of
             the end of the period covered by this report based on such
             evaluation; and

          d) disclosed in this report any change in the registrant’s internal
             control over financial reporting that occurred during the
             registrant’s most recent fiscal quarter (the registrant’s fourth
             fiscal quarter in the case of an annual report) that has materially
             affected, or is reasonably likely to materially affect, the
             registrant’s internal control over financial reporting;

       5. The registrant’s other certifying officer and I have disclosed, based
          on our most recent evaluation of internal control over financial
          reporting, to the registrant’s auditors and the audit committee of the
          registrant’s board of directors (or persons performing the equivalent
          functions):


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           a) all significant deficiencies and material weaknesses in the
              design or operation of internal control over financial reporting
              which are reasonably likely to adversely affect the registrant’s
              ability to record, process, summarize and report financial
              information; and

           b) any fraud, whether or not material, that involves management
              or other employees who have a significant role in the
              registrant’s internal control over financial reporting.

       119. Adamczyk’s and Szlosek’s certifications were false and/or materially
 misleading because the Q2’18 10-Q in fact did not “fairly present in all material
 respects the financial condition.” As alleged previously, Honeywell’s Bendix
 asbestos-related liability was not $616 million, but instead nearly three times as
 much, $1.703 billion, as of December 31, 2017. Moreover, contrary to Adamczyk’s
 and Szlosek’s claims in the certifications that they had “designed such internal
 control over financial reporting . . . to provide reasonable assurance regarding the
 reliability of financial reporting,” they developed controls that systematically
 manipulated the company’s accounting for Bendix asbestos-related liability. As
 confirmed by Honeywell’s August 20, 2018 response to the SEC, Adamczyk and
 Szlosek were deeply involved in the accounting for and controls over the Bendix
 asbestos-related liability. These controls, according to Honeywell, were designed to
 ignore potential liability outside of a five-year period into the future and, therefore,
 violated generally accepted accounting principles. Accordingly, Adamczyk’s and
 Szlosek’s certifications were knowingly false at the time they were signed.
       120. The omissions and/or misrepresentations in the Q2’18 10-Q were
 material because the true facts would have altered the total mix of information
 available to investors when deciding to purchase Honeywell stock.




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 G.    The Truth Emerges Through Partial Corrective Disclosures.
                             August 23, 2018 Form 8-K
       121. On August 23, 2018, Honeywell issued a press release, which was
 attached as Exhibit 99 to a Form 8-K filed with the SEC that same day. Honeywell
 disclosed that it was required to revise its method for estimating its liability for
 unasserted Bendix asbestos-related claims by considering the epidemiological
 projections through 2059 of future incidence of Bendix asbestos-related disease.
       122. The August 23, 2018 Form 8-K states in pertinent part:

       During the course of the Securities and Exchange Commission (SEC)
       review of the Form 10 filing for the planned spin-off of its
       Transportation Systems business, Garrett Motion Inc. (“Garrett”),
       Honeywell International Inc. (“Honeywell”, the “Company” or “We”)
       has been engaged in discussions with the staff of the SEC (the “Staff”)
       regarding Garrett’s accounting for its liability for unasserted Bendix-
       related asbestos claims and, in conjunction therewith, reviewed the
       accounting treatment of its legacy Bendix asbestos liabilities. The
       Staff’s comments related to Garrett’s accounting in this area are also
       applicable to Honeywell’s historical financial statements.

       Following these discussions, the Company revised its accounting
       related to the time period associated with the determination of
       appropriate accruals for the legacy Bendix asbestos-related liability
       for unasserted claims in accordance with Accounting Standards
       Codification 450, Contingencies (“ASC 450”). The prior accounting
       treatment, disclosed in our footnotes to our historical financial
       statements, applied a five-year time horizon; the revised treatment
       reflects the full term of epidemiological projections through 2059.
       The change was made in consideration of a number of factors,
       including the subjective nature of applying a five-year or any other
       fixed time horizon when estimating liability for unasserted claims,
       recent changes by several other registrants to accrue for unasserted
       asbestos claims over the full term of the epidemiological projections
       and the desire to facilitate comparability among Honeywell, Garrett
       and their respective peers.



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        Our consolidated balance sheets, consolidated statements of operations,
        consolidated statements of comprehensive income, consolidated
        statements of shareholders’ equity, and consolidated statements of cash
        flows relative to prior periods will be immaterially revised to correct
        the Company’s application of ASC 450 with respect to Bendix-related
        asbestos liabilities.
        123. Attached to the August 23, 2018 Form 8-K as Exhibit 99, Honeywell
 attached restated financial statements indicating an additional $1.083 billion in
 asbestos-related liabilities.
        124. The August 23, 2018 Form 8-K Exhibit 99 states:

        Asbestos Matters

        The Company has revised its method for reasonably estimating its
        liability for unasserted Bendix asbestos-related claims by considering
        the epidemiological projections through 2059 of future incidence of
        Bendix asbestos-related disease. Using this method, the Company’s
        Bendix asbestos-related liability is estimated to be $1,693 million as
        of June 30, 2018. This is $1,083 million higher than the Company’s
        prior estimation which applied a five-year horizon when estimating the
        liability for unasserted Bendix asbestos-related claims. The Bendix
        asbestos-related insurance assets are estimated to be $187 million as of
        June 30, 2018, which is $65 million higher than the Company’s prior
        estimate.
        125. As a result, the company’s prior reported financials underestimated its
 asbestos-related liability attributable to Bendix by over $1 billion. Additionally,
 Honeywell disclosed that net income attributable to Honeywell for 2017 was
 actually $1.545 billion, not the previously reported $1.655 billion.
        126. The above information partially revealed that: (1) Honeywell had been
 improperly accounting for Bendix’s asbestos-related liabilities; (2) Honeywell’s true
 Bendix asbestos-related liability was significantly greater than previously
 represented; (3) that Honeywell could in fact estimate Bendix asbestos-related
 liability for periods greater than five years in the future, contrary to what Honeywell


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 told investors previously; (4) that Honeywell’s previous accounting methodology
 was contrary to, and in violation of, ASC 450; and (5) that Honeywell’s internal
 controls over financial accounting and public disclosures were not designed and/or
 working properly, as claimed by Adamczyk and Szlosek in their certifications
 pursuant to the Sarbanes-Oxley Act of 2002.
       127. Despite the disclosures in the August 23, 2018 Form 8-K, Honeywell
 continued to conceal the truth from investors. Neither the Form 8-K nor the
 accompanying exhibit fully disclosed: (1) management’s involvement in and
 responsibility for estimating Bendix asbestos-related liabilities; (2) that the
 accounting process and controls for estimating Bendix asbestos-related liabilities
 involved an intentional decision to ignore liabilities potentially arising more than
 five years into the future; or (3) that Defendants knew that the accounting process
 used for estimating Bendix asbestos-related liabilities was in violation of ASC 450,
 generally accepted accounting principles, and industry norms. Moreover, Honeywell
 did not disclose, but instead concealed, that its decision to change its accounting
 processes for Bendix liabilities was brought about by communication with the SEC’s
 Division of Corporation Finance, i.e., the August 14 and 20, 2018 correspondence.
                             October 10, 2018 Form 8-K
       128. On October 10, 2018, the SEC made public correspondence between
 the company and its Division of Corporation Finance dated August 14 and 20, 2018.
 Although released to the public on October 10, 2018, it appeared retroactively on
 the SEC’s website and, consequently, below several more recent filings from
 Honeywell. In its letter dated August 14, 2018, the SEC stated in pertinent part:

       Form 10-K for Fiscal Year Ended December 31, 2017
       Note 19. Commitments and Contingencies
       Asbestos Matters, page 69




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       1. We note that you estimate your Bendix and NARCO asbestos related
       liabilities for future claims based on specific time periods subsequent
       to your balance sheet date. Please explain why you use different time
       periods for estimating the liabilities for future asbestos claims for your
       Bendix products asbestos liability and your NARCO-related asbestos
       liability. In your response, also please provide us with an analysis that
       explains your facts and circumstances as well as your basis under ASC
       450 to use those specific future time periods. To the extent you
       determine that the specific future time periods used were incorrect,
       please provide us with a materiality analysis and your assessment of
       whether there was a material weakness in internal controls over
       financial reporting.

       We remind you that the company and its management are responsible
       for the accuracy and adequacy of their disclosures, notwithstanding any
       review, comments, action or absence of action by the staff.
       129. On August 20, 2018, John Tus, Honeywell’s Vice President and
 Controller, responded to the SEC via letter, stating in pertinent part:

       We have used different methodologies for estimating asbestos-related
       liabilities for Bendix and for the NARCO Trust due to the significant
       distinctions in claims data and histories between the two sets of
       asbestos-related liabilities. Due to the inherent complexities of
       modeling numerous layers of uncertain inputs, Honeywell continues to
       believe that it is critical to retain outside asbestos liability valuation
       expertise to support our preparation of liability estimates. The
       fundamental difference between estimating liability for Bendix and the
       NARCO Trust is the availability of a robust quantity and quality of
       information (or in the NARCO Trust case, the lack thereof) that has
       been available for us to use when attempting to make reasonable
       estimates of our contingent liability. This is critical to understanding
       why we have used different methods to determine our reasonable
       estimates, for ASC 450-20 purposes, of our Bendix-related asbestos
       and NARCO Trust-related asbestos liabilities. We outline below the
       facts and circumstances behind each of Bendix and the NARCO Trust
       to clearly differentiate the two and to explain why we have handled the
       accounting estimates in two different ways. As described in more detail
       below and in the Appendices hereto, we are proposing to change our
       accounting treatment for Bendix asbestos-related liabilities to a


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       terminal value time horizon. We also discuss our materiality analysis
       related to that revision and our conclusion that the revision we intend
       to make does not indicate a material weakness in our internal control
       over financial reporting. For NARCO Trust asbestos-related liabilities,
       we believe based on the absence of reliable claims data that our current
       projection of liability is correct as it is the best available estimate and
       have described in detail our process and position based on the available
       facts.
                                      *     *        *
       For Bendix, we believe that the accrual after the change to a terminal
       value horizon is appropriate as it is probable and reasonably estimable
       given the quality and quantity of reliable claims data in the tort system.
                                      *     *        *
       Bendix

       Upon thorough consideration of the Staff’s comments in its review of
       the Form 10 submitted to the Staff in connection with the proposed
       spin-off of Garrett Motion Inc. and of the application of ASC 450,
       Honeywell determined that we had not appropriately applied the
       provisions of ASC 450 when measuring asbestos liabilities related to
       unasserted Bendix claims. Specifically, we concluded that the
       appropriate application of ASC 450-20 with respect to unasserted
       Bendix-related asbestos claims is to reflect the full term of the
       epidemiological projections in the measurement of such liability. The
       Company intends to revise its historical consolidated financial
       statements in future filings to reflect the inclusion of the full term of the
       epidemiological projections (through 2059) in its measurement of
       liability for unasserted Bendix-related asbestos claims.

       It is important to note that, unlike the NARCO Trust, Bendix claims
       have been addressed through the tort system since the mid-1970s,
       creating a body of historical claims information on which to rely when
       estimating a future projection of liability. Each year, we have a
       substantial body of real-time data of claims asserted, dismissal rates and
       resolution values that is more than sufficiently robust to support reliable
       estimates. The robustness of this data supported our conclusion that
       application of the claims data to the full term of the epidemiological
       projections yields a probable and reasonably estimable projection of
       liability under ASC 450.



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          130. The above statements revealed to the market that Honeywell’s
 accounting for Bendix asbestos-related liabilities was false. Specifically, this
 revealed that Honeywell did in fact have data to support accounting for the full term,
 not just a five year horizon.
          131. Incorporated to Honeywell’s letter to the SEC was Appendix A that
 contained additional disclosures relating to Honeywell’s prior improper accounting.
 Appendix A states in pertinent part:

          Additionally, management has evaluated the circumstances around the
          Bendix asbestos liability error detailed above to determine whether it is
          an indicator of a material weakness in financial reporting controls.
          Based on the quantitative and qualitative considerations discussed
          below we concluded we have a significant deficiency and not a
          material weakness in internal controls over financial reporting
          related to our determination of the time horizon for the Bendix-
          related asbestos liability. Therefore, we did not alter our conclusion as
          to the effectiveness of internal control over financial reporting as of
          December 31, 2017, from those disclosed within our December 31,
          2017 Annual Report on Form 10-K.
          132. This revealed to the market that Honeywell had a significant deficiency
 it its internal controls over financial reporting and as a result, the accounting for
 Bendix asbestos-related liabilities, as well as Defendants SOX certifications were
 false.
          133. Appendix A continued, discussing the accounting error and the effects
 it had on net income and comprehensive income, stating:

             • Under the iron curtain method, the effects of a cumulative
               correction on the Company’s projected 2018 income statement,
               however, would be material. For instance, the impact of
               correcting the error in 2018 would be a charge of (i) $1,018
               million to income before taxes, and (ii) $770 million to net
               income. This would represent a greater than 10% impact on both
               of the forecasted 2018 amounts. Accordingly, we have
               concluded that the error cannot be corrected through the 2018

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             income statement and must, therefore be corrected via a
             revision of prior periods
           • In order to assess whether the revision for this error represents a
             material restatement or immaterial restatement (i.e. revision), we
             utilized the rollover method to quantify the amount by which
             each affected income statement and statement of cash flows in
             the last five years was actually misstated, and quarterly periods
             for the latest two years. Additionally, as part of this analysis, we
             calculated the cumulative effect of the uncorrected error on the
             balance sheets at the end of each such period. The rollover
             method analysis indicates that the restatement is not
             quantitatively material because the effects of the error on the
             misstated income statements, statements of cash flows and
             balance sheets of those prior periods is less than 5% of all key
             metrics in each period, with the exception of net income (-6.5%)
             and comprehensive income (-5.0%) for the year ended
             December 31, 2017. This was primarily due to an increase in the
             Company’s tax provision as a result of US Tax Reform enacted
             in December 2017. The impact of US Tax Reform was
             considered unusual and infrequent in nature, and furthermore, the
             Company has disclosed the effects of tax reform through its
             earnings releases and periodic financial statements. Excluding
             the impact of US Tax Reform, the impact of the error on our 2017
             net income is $27 million or 0.5%. This error also had no overall
             impact on cash flows from operations.
        134. This statement revealed to the market that Honeywell would have to
 issue a restatement for Bendix asbestos-related liabilities, and the negative affect it
 would have on net income and comprehensive income. This revealed that the prior
 numbers relating to Bendix’s asbestos-related liabilities and net income
 disseminated by Honeywell were in fact, false.
        135. Appendix A then discussed exactly how long Honeywell could estimate
 it liabilities for, and the factors used to decide to correct the error.

        As indicated previously, in August 2018, management concluded it
        should adjust the Bendix asbestos liability to reflect the full term of
        the epidemiological projections through 2059, and therefore,


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       determined that it had historically incorrectly applied the provisions
       of ASC 450, Contingencies, in measuring its Bendix asbestos liability
       related to unasserted claims. This error, and the related control
       deficiency, were identified during the course of the SEC Staff’s review
       of the Form 10 filing related to Garrett Motion Inc.

       Our conclusion to adjust the time horizon of the Bendix liability was
       made after (i) reevaluating the highly subjective nature of the use of a
       five-year horizon (when various horizon periods could also be used),
       (ii) noting the recent change by numerous companies to accrue for
       unasserted claims over the full term of the epidemiological studies
       (again because of such time horizon subjectivity), and (iii) concluding
       that such an adjustment would facilitate comparability between
       Honeywell, Garrett Motion Inc., and the companies’ respective peers.
       Therefore, with the assistance of an external specialist, and utilizing a
       model with actuarial inputs, Honeywell has and will continue in the
       future to consider the full term of epidemiological projections of future
       incidents of asbestos-related disease to estimate its probable and
       reasonably estimable Bendix asbestos-related liability.
       136. This statement revealed to the market that Honeywell in fact should
 have been recording Bendix’s asbestos-related liabilities out to 2059, not just a five
 year horizon as it had done historically. This showed that Honeywell’s prior
 statement that Honeywell did not have a reasonable basis for estimating asbestos
 claims beyond the next five years, was actually false.
       137. Appendix A also identified the control that was deficient and the root
 cause for the deficiency. Specifically, Appendix A states:

       Control Identified

       The error that was identified is an indication that a deficiency existed
       in the operation of an existing internal control since there was a
       failure to properly apply the key provisions of the control in
       establishing an estimate of unasserted Bendix asbestos claims liability
       related to the time horizon for which these claims would be asserted.

       As noted in the summary of the accounting process for unasserted
       claims above, we use a third-party specialist to assist in assessing the

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       required Bendix unasserted claims liability. The Company has designed
       a relevant internal control over that process. We identified an
       operating effectiveness deficiency related to that internal control
       activity. The specific control activity is the “Bendix Reserves True-up”
       control, which states that “…Honeywell’s third-party service provider
       calculates the average resolution values on which Honeywell bases its
       estimates of the total liability associated with its current and future
       Bendix asbestos claims. The year-end reserve is updated based on the
       new average resolution values and is approved by Management.” This
       key control is specific to Bendix-related asbestos reserves where, on an
       annual basis, the Bendix-related asbestos reserves are adjusted to
       properly reflect current year estimates regarding both resolution values
       and estimated future claimants based on anticipated changes in the
       population of claims. Management reviews the specialist report for
       reasonableness of the unasserted claims liability and any
       increase/decrease from the prior year, and discusses with the specialist
       the significant actuarial inputs and reasons for the increase/decrease.
       Outside legal counsel specializing in asbestos related claims is also
       included in those discussions. Management has historically, as part of
       this process, held discussions with the specialist regarding the time
       horizon used for the estimation of the future unasserted
       claims. Management approves any adjustment to the unasserted claims
       liability amount based on this analysis and records the appropriate
       adjustment to the general ledger.
                                     *      *       *
       Nature and Root Cause

       . . . However, in connection with the performance of this control, the
       Company inappropriately relied on limited objective and verifiable
       data to justify its use of a five-year horizon. The Company had
       obtained and used the data to properly value a liability, but made the
       incorrect judgment based on what the data would have otherwise
       indicated had it not truncated the liability at a five-year horizon. The
       Company did not consider or use all available evidence to evaluate
       whether they should apply the full term or any other time horizon of
       epidemiological projections to the liability that might have been more
       appropriate than a five-year time horizon based on that evidence.
       138. The above information revealed the extent of the control weakness and
 the fact that Honeywell ignored information when determining the horizon for


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 Bendix’s asbestos-related liabilities. This showed that the prior statements that
 Honeywell did not have a reasonable basis for estimating asbestos claims beyond
 the next five years, as well as Defendants’ SOX certification were actually false.
       139. Appendix A also informed investors that Honeywell had the
 information needed to determine the deficiency at an earlier point. Specifically,
 Appendix A states:

       We concluded it was appropriate to revise prior periods when
       correcting the error under SAB 99. This consideration implies that
       there was information available that should have caused us to modify
       the time horizon used for the Bendix unasserted claims liability at an
       earlier point. The specific time horizon is subjective in nature given the
       assessment of all available information.

       140. This statement again revealed to the market that the error was so severe
 that it would result in a restatement. This revealed that the prior numbers relating to
 Bendix’s asbestos-related liabilities and net income disseminated by Honeywell
 were in fact, false.
       141. This also told investors that Honeywell had the information to find the
 error well before Honeywell decided to review or disclose it. This shows the extent
 of Honeywell’s internal weakness, and that its previous SOX certification were false.
       142. Appendix A also determined that Defendants prior SOX certifications
 were materially false. Specifically, Appendix A states:

       SOX 404 Assessment Conclusion

       Based on the considerations above, we concluded that there was not a
       material weakness in internal control. However, we determined that the
       deficiency is important enough to merit the attention of those
       responsible for oversight of the Company’s financial reporting and
       internal controls, and therefore Management concluded that a
       significant deficiency in internal controls over financial reporting
       existed. Specifically, the identified Bendix asbestos control did not


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       operate effectively because the Company inappropriately relied on
       limited objective and verifiable data to justify its use of a five-year
       horizon. We did not consider all available evidence to evaluate whether
       we should apply the full term of the epidemiological studies. The
       Company focused too heavily on the emerging science and studies that
       indicated the nature and application of the asbestos used at Bendix does
       not cause disease, and on evidence of improvements in the tort system
       with regards to resolution of asbestos claims.
       143. This correspondence revealed to the market that Honeywell’s previous
 SOX certifications were in fact false due to a significant deficiency internal controls
 over financial reporting.
       144. Despite the admissions and revelations contained in Honeywell’s
 August 20, 2018 correspondence with the SEC, it still misled investors by attempting
 to portray Honeywell’s conduct in a nonculpable light. Moreover, given the manner
 in which the correspondence was released, many investors were unaware of
 Defendants’ admissions or that it had engaged in an intentional violation of generally
 accepted accounting standards when providing the public with estimates of its
 Bendix asbestos-related liability.
                             October 19, 2018 Form 10-Q
       145. The full extent of Honeywell’s improper accounting for its asbestos
 liability attributable to Bendix was revealed on October 19, 2018, when Honeywell
 issued a press release announcing its third quarter 2018 earnings, which was also
 attached as Exhibit 99 to Form 8-K, and filed its quarterly report with the SEC for
 the quarter ended September 30, 2018.
       146. In the Q3’18 10-Q, Honeywell disclosed the following:

       In the third quarter of 2018, the Company revised its accounting to
       correct the time period associated with the determination of appropriate
       accruals for the legacy Bendix asbestos-related liability for unasserted
       claims. The prior accounting treatment applied a five-year time
       horizon; the revised treatment reflects the full term of epidemiological


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        projections through 2059. Previously issued financial statements
        have been revised for this correction with the following effects: The
        Company’s revised estimated asbestos-related liabilities are now
        $2,610 million as of December 31, 2017, which is $1,087 million
        higher than the Company’s prior estimate. The Company’s Insurance
        recoveries for asbestos-related liabilities are estimated to be $503
        million as of December 31, 2017, which is $68 million higher than the
        Company’s prior estimate. As of December 31, 2017, the net deferred
        income taxes impact was $245 million, with a decrease to liabilities and
        increase to assets, and the cumulative impact on Retained earnings was
        a decrease of $774 million. For the three and nine months ended
        September 30, 2017, Cost of services sold increased $5 million and $2
        million, Tax expense decreased $2 million and $0 million, and Net
        income decreased $3 million and $2 million.

        This revision followed the Securities and Exchange Commission (SEC)
        Division of Corporation Finance review of our Annual Report on Form
        10-K for 2017, which included review of our prior accounting for
        liability for unasserted Bendix-related asbestos claims. On September
        13, 2018, following completion of Corporation Finance’s review, the
        SEC Division of Enforcement advised that it has opened an
        investigation related to this matter. Honeywell intends to provide
        requested information and otherwise fully cooperate with the SEC staff.

        147. This revealed to the market the true extent of Honeywell’s accounting
 errors, and the fact that Honeywell was under a formal investigation by the SEC in
 connection with its accounting for asbestos liabilities. Whereas prior disclosures
 claimed that Honeywell was justified in its accounting treatment for Bendix
 asbestos-related liability, the fact that the SEC was investigating Honeywell for
 exactly that matter cast significant doubt on the company’s prior statements. The
 fact of the matter was that Honeywell had intentionally violated generally accepted
 accounting principles and now, as a result, the SEC’s Division of Enforcement was
 investigating it.




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 H.    Defendants Acted with Scienter.
       148. Honeywell intentionally used a five year horizon to estimate its Bendix
 exposure, as admitted by Honeywell in the 2017 10-K. In pertinent part, Honeywell
 explained that: “The liability for future claims represents the estimated value of
 future asbestos-related bodily injury claims expected to be asserted against Bendix
 over the next five years. Such estimated cost of future Bendix-related asbestos
 claims is based on historic claims filing experience and dismissal rates, disease
 classifications, and resolution values in the tort system for the previous five years.”
       149. Honeywell knew that using a five year horizon was unacceptable,
 improper, and misleading. On August 14, 2018, the SEC’s Division of Corporation
 Finance notified Honeywell that the company’s estimate for Bendix asbestos-related
 liabilities was in violation of ASC 450. On August 20, 2018, John Tus, Honeywell’s
 Vice President and Controller, responded to the SEC by agreeing with the SEC and
 admitting that Honeywell had been improperly accounting for its Bendix exposure.
       150. In pertinent part, Tus acknowledged that ASC 450 was “the
 authoritative accounting standard under U.S. GAAP concerning loss contingencies”
 and that it required Honeywell to “accrue for a loss when that loss is both probable
 and reasonably estimable (ASC 450-20-25-2).” Tus also acknowledged that
 “Honeywell determined that [it] had not appropriately applied the provisions of ASC
 450 when measuring asbestos liabilities related to unasserted Bendix claims.
 Specifically, [it] concluded that the appropriate application of ASC 450-20 with
 respect to unasserted Bendix-related asbestos claims is to reflect the full term of the
 epidemiological projections in the measurement of such liability” and not, as it had
 been doing, accounting for only a five year horizon.
       151. Tus’s letter included an appendix. In the appendix, Tus admitted that
 Honeywell maintained a “control” during the Class Period that systematically
 yielded a favorable Bendix exposure figure. The control, as explained by Tus,

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 “inappropriately relied on limited objective and verifiable data to justify its use of a
 five-year horizon. The Company had obtained and used the data to properly value a
 liability, but made the incorrect judgment based on what the data would have
 otherwise indicated had it not truncated the liability at a five-year horizon. The
 Company did not consider or use all available evidence to evaluate whether they
 should apply the full term or any other time horizon of epidemiological projections
 to the liability that might have been more appropriate than a five-year time horizon
 based on that evidence.”
       152. Tus further confirmed that this control was developed and/or approved
 by Honeywell’s “Management,” i.e., Adamczyk and Szlosek. In pertinent part, Tus
 wrote that the Bendix reserves are “approved by Management” after “Management
 reviews the specialist report for reasonableness of the unasserted claims liability and
 any increase/decrease from the prior year, and discusses with the specialist the
 significant actuarial inputs and reasons for the increase/decrease. Outside legal
 counsel specializing in asbestos related claims is also included in those discussions.
 Management has historically, as part of this process, held discussions with the
 specialist regarding the time horizon used for the estimation of the future unasserted
 claims. Management approves any adjustment to the unasserted claims liability
 amount based on this analysis and records the appropriate adjustment to the general
 ledger.”
       153. Further establishing scienter on the part of Honeywell, Adamczyk and
 Szlosek is the fact that its accounting for Bendix liability was different from and at
 odds with its accounting for other asbestos-related liability, namely the NARCO
 asbestos liability. For NARCO, Honeywell estimated asbestos-related liability
 across a 15-year timeline. Thus, despite the fact that Honeywell had less “real-time
 data of claims asserted, dismissal rates and resolution values” than it had for Bendix,
 Honeywell was still able to comply with ASC 450. Honeywell’s accounting for

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 NARCO, therefore, shows that the company knew how to comply with ASC 450 but
 intentionally declined to do so.
       154. Honeywell’s decision to use a five year horizon was also at odds with
 and contrary to industry practices, as evidenced by the accounting practices of other
 companies with asbestos-related litigation exposure. Indeed, as stated in the
 appendix to Honeywell’s August 20, 2018 response to the SEC, its “conclusion to
 adjust the time horizon of the Bendix liability was made after (i) reevaluating the
 highly subjective nature of the use of a five-year horizon (when various horizon
 periods could also be used), [and] (ii) noting the recent change by numerous
 companies to accrue for unasserted claims over the full term of the epidemiological
 studies (again because of such time horizon subjectivity) . . . . The Company also
 had conversations between management [Adamczyk and Szlosek], its third-party
 specialists and outside counsel about what appeared to be a movement of companies
 to extend out the time horizon.”
       155. Notwithstanding the above, Honeywell still used a five year horizon.
 As a result, Honeywell was able to conceal over $1.1 billion of additional asbestos-
 related exposure relating to Bendix alone. In turn, Honeywell was able to inflate its
 net income by 6.5% and comprehensive income by 5% for the year ended December
 31, 2017 (excluding Honeywell’s provision for tax reform in 2017).
       156. Adamczyk, as CEO, and Szlosek, as CFO, were responsible for all of
 Honeywell’s actions, including its day-to-day affairs as well as the contents of the
 quarterly and annual reports that Honeywell filed with the SEC. Therefore,
 Adamczyk and Szlosek acted with scienter by causing Honeywell to make the
 misleading Bendix disclosures.
       157. Proof of scienter on the part of Adamczyk and Szlosek is evident in the
 fact that they signed certifications under the Sarbanes-Oxley Act of 2002 in
 connection with Honeywell’s quarterly and annual reports. These certifications

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 represented that Adamczyk and Szlosek “certify, pursuant to 18 U.S.C. Section
 1350, as adopted pursuant to Section 906 of the Sarbanes-Oxley Act of 2002, that: .
 . . The information contained in the Report fairly presents, in all material respects,
 the financial condition and results of operations of the Company.” This was not true
 and, as established above, Adamczyk and Szlosek knew it.
       158. In particular, Adamczyk and Szlosek certified the accuracy of the
 Q2’18 10-Q despite being aware that Honeywell was improperly accounting for its
 Bendix asbestos-related liability. As stated in Honeywell’s August 20, 2018
 response to the SEC, Honeywell was aware of “the error” pertaining to its liability
 estimates “subsequent to the quarter ended June 30, 2018,” yet Adamczyk and
 Szlosek certified the Q2’18 10-Q (dated July 20, 2018) notwithstanding.
       159. Moreover, during the course of the Class Period, Adamczyk and
 Szlosek repeatedly attempted to conceal and/or cover up disclosures about the
 company’s accounting scheme. On August 23, 2018, Honeywell timed its
 announcement about the new Bendix liability numbers to coincide with a press
 release detailing several developments within Honeywell, including the issuance of
 Form 10’s relating to the company’s spin-offs of Garrett Motion Inc. and Resideo
 Technologies, Inc. and an upward revision of full-year earnings-per-share guidance
 by $0.05 per share (to $8.10-$8.20).
       160. Defendants’ strategy worked, as analysts and the market largely
 ignored the news about the Bendix estimates and faulty internal controls. Indeed,
 Deutsche Bank wrote on August 23, 2018, “[n]et/net, we viewed today’s news as
 positive, and expect the stock to outperform modestly on the back of the guidance
 raise and spin progress.” Likewise, RBC Capital Markets wrote on August 23, 2018,
 that “the accounting revision [would] have an immaterial positive impact to its full
 year 2018 adjusted EPS.”



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       161. Defendants’ timing of the August 23, 2018 press release was not a
 coincidence. Proof of this is evident in the fact that they employed similar tactics on
 October 10, 2018. Despite the release of damning correspondence with the SEC,
 Honeywell issued no press release and did not even mention the word “asbestos” in
 an investor conference that it hosted that same day. Thus, once again, Honeywell
 effectively concealed the truth about its accounting scheme in hopes that it would
 remain hidden.
       162. Given the nature of the statements at hand and the falsity with which
 they were made, Honeywell acted with corporate scienter. It is implausible that
 Honeywell would have made the statements it did in its filings with the SEC unless
 its senior management approved the statements and authorized their filing.
 I.    Loss Causation and Economic Harm.
       163. As a result of Defendants’ wrongful acts and omissions, and the
 precipitous decline in the market value of Honeywell securities in response to
 company-specific news, i.e., Honeywell’s restatement and deficient internal controls
 and procedures, Plaintiff and the other Class members have suffered significant
 damages.
       164. During the Class Period, Defendants concealed from Plaintiff and other
 Class members the true extent of its Bendix asbestos-related liability and the
 sufficiency of its internal controls over financial reporting and public disclosures
 concerning the same. The 2017 10-K, Q1’18 10-Q, and Q2’18 10-Q each provided
 investors with a false account of the company’s estimated liability. This, in turn,
 fostered a false sense of security in investors and created a misleading impression
 that Honeywell was a safer investment than it truly was. As a result of these
 misrepresentations and/or omissions, Honeywell’s stock price was artificially
 inflated during the Class Period.



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       165. Honeywell disclosed the truth about its Bendix asbestos-related liability
 to the market in piecemeal fashion. First, on August 23, 2018, the company said it
 would need to “revise[] its accounting related to the time period associated with the
 determination of appropriate accruals for the legacy Bendix asbestos-related liability
 for unasserted claims” and indicated that its Bendix asbestos-related liability would
 need to be increased by $1.083 billion (from $610 million to $1.693 billion as of
 June 30, 2018).
       166. Honeywell timed its August 23, 2018 announcement to coincide with a
 press release detailing several developments, including Form 10’s relating to the
 company’s spin-offs of Garrett Motion Inc. and Resideo Technologies, Inc. and an
 upward revision of full-year earnings-per-share guidance by $0.05 per share (to
 $8.10-$8.20). Accordingly, despite the significant increase in Bendix asbestos-
 related liability and disclosure about faulty internal accounting, “[n]et/net, [analysts]
 view[ed] today’s news as positive, and expect[ed] the stock to outperform modestly
 on the back of the guidance raise and spin progress.” [Deutsche Bank, Our Thoughts
 on HON’s Guidance Raise (Aug. 23, 2018)] Analysts also focused on Honeywell’s
 claim that “the accounting revision [would] have an immaterial positive impact to
 its full year 2018 adjusted EPS.” [RBC Capital Markets, HON – Turbo and Homes
 Spins on Track; Boosts 2018 EPS Guidance by 5c/0.6% (Aug. 23, 2018)]
       167. Honeywell released its August 23, 2018 announcement about the
 Bendix liability and its August 23, 2018 press release about the spin-offs both before
 market open, effectively burying the former under the latter. In so doing, Honeywell
 attempted to prevent its stock price from declining in response to the disclosure
 about its Bendix liability and maintain the artificial inflation that was present within
 its stock price at that time. However, despite Honeywell’s efforts, the market still
 took note of the news and, from an opening market price of $151.30 per share on



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 August 23, 2018, Honeywell’s stock price declined to an adjusted closing price of
 $149.33 per share on August 24, 2018.
        168. On October 10, 2018, during trading hours, Honeywell revealed
 additional information about its Bendix asbestos-related liability when its
 correspondence with the SEC dated August 14 and 20, 2018 became publicly
 available on the SEC’s EDGAR website. The correspondence disclosed in detail that
 Honeywell’s internal controls for determining the Bendix asbestos-related liability
 had been deficient. The correspondence also contained admissions on behalf of
 Honeywell that it had been intentionally accounting for the liability improperly
 under “the authoritative accounting standard under U.S. GAAP concerning loss
 contingencies.” In response to this news, Honeywell’s stock price declined from an
 opening market price of $155.76 on October 10, 2018 to an adjusted closing price
 of $147.24 per share on October 11, 2018.
        169. Honeywell once again attempted to hide the disclosure from the market.
 It did not issue any press releases concerning the August 2018 SEC correspondence
 nor did it even mention the word “asbestos” in an investor conference that it hosted
 that same day the correspondence was made public on October 10, 2018. Thus, once
 again, Honeywell was able to stem the decline in its stock price and largely maintain
 its artificially inflated stock price.
        170. On October 19, 2018, Honeywell was no longer able to keep investors
 in the dark about its Bendix liability accounting scheme. Before market hours, the
 company released the Q3’18 10-Q which included the new Bendix asbestos-related
 liability figures as well as the fact that it received notice from the SEC on September
 13, 2018 that it was under investigation by the SEC’s Division of Enforcement.
        171. This was material news for Honeywell investors. Indeed, on October
 19, 2018, the Wall Street Journal immediately published an article, titled SEC Opens
 Investigation Into Honeywell’s Asbestos Accounting. In pertinent part, the article

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 stated that the “Securities and Exchange Commission ha[d] opened an investigation
 into the company’s accounting for asbestos-related liabilities” following
 “discussions with the SEC that prompted it to correct and restate its asbestos
 liabilities by about $1.1 billion more than its prior estimate.”
       172. Following Honeywell’s disclosure of the new Bendix liability figures
 and the SEC investigation, its stock price declined substantially. Honeywell’s
 opening stock price on October 19, 2018 was $151.26 per share. From there, it
 declined to an adjusted market closing price of $146.28 per share on October 22,
 2018 (the following trading day), and continued to fall further on October 23, 2018
 ($144.35 adj. close) and October 24, 2018 ($139.31 adj. close).
       173. Defendants concealed material information from investors about its
 Bendix asbestos-related liability. This deception misled the market about the risks
 of their investments in Honeywell as well as exposed investors to heightened
 regulatory scrutiny and penalties. The SEC investigation, in particular, was a natural
 and foreseeable result from engaging in the accounting fraud alleged herein. As the
 truth concerning Defendants’ accounting scheme came to light, Honeywell’s stock
 price declined significantly. From a Class Period high of $161.28 per share,
 Honeywell’s stock eventually fell to $140.83 per share following the end of the Class
 Period. The rise and fall of Honeywell’s stock amounted to a total market
 capitalization loss of more than $14.8 billion.
       174. The decline in the price of Honeywell securities caused economic harm
 to Plaintiff and other Class members as the value of their investments declined due
 to the fraud alleged herein.
 J.    Presumption of Reliance; Fraud-On-The-Market.
       175. At all relevant times, the market for Honeywell securities was an
 efficient market for the following reasons, among others:



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              a.     Honeywell’s common stock met the requirements for listing and
                     was listed and actively traded on the New York Stock Exchange,
                     a highly efficient and automated market;
              b.     Honeywell communicated with public investors via established
                     market communication mechanisms, including disseminations of
                     press releases on the national circuits of major newswire services
                     and    other   wide-ranging     public    disclosures,   such    as
                     communications with the financial press and other similar
                     reporting services;
              c.     Honeywell was followed by several securities analysts employed
                     by major brokerage firms who wrote reports that were distributed
                     to the sales force and certain customers of their respective
                     brokerage firms during the Class Period. Each of these reports
                     was publicly available and entered the public marketplace; and
              d.     Unexpected material news about Honeywell was reflected in and
                     incorporated into its stock price during the Class Period.
       176. As a result of the foregoing, the market for Honeywell securities
 promptly digested current information regarding Honeywell from all publicly
 available sources and reflected such information in Honeywell’s stock price. Under
 these circumstances, all purchasers of Honeywell securities during the Class Period
 suffered similar injury through their purchase of Honeywell securities at artificially
 inflated prices, and a presumption of reliance applies.
       177. Alternatively, reliance need not be proven in this action because the
 action involves omissions and deficient disclosures. Positive proof of reliance is not
 a prerequisite to recovery pursuant to ruling of the United States Supreme Court in
 Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972). All that is
 necessary is that the facts withheld be material in the sense that a reasonable investor

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 might have considered the omitted information important in deciding whether to buy
 or sell the subject security.
 K.    No Safe Harbor: Inapplicability of Bespeaks Caution Doctrine.
       178. The statutory safe harbor provided for forward-looking statements
 under certain circumstances does not apply to any of the material misrepresentations
 and omissions alleged in this Complaint because they are not forward looking
 statement which are the only statements that can be protected by the statutory safe
 harbor.
       179. To the extent certain of the statements alleged to be misleading or
 inaccurate may be characterized as forward looking, they were not identified as
 “forward-looking statements” when made and there were no meaningful cautionary
 statements identifying important factors that could cause actual results to differ
 materially from those in the purportedly forward-looking statements.
       180. Defendants are also liable for any false or misleading “forward-looking
 statements” pleaded because, even if they were identified as “forward looking
 statements,” which they were not, at the time each “forward-looking statement” was
 made, the speaker knew the “forward-looking statement” was false or misleading
 and the “forward-looking statement” was authorized and/or approved by an
 executive officer of Honeywell who knew that the “forward-looking statement” was
 false. Alternatively, none of the historic or present-tense statements made by the
 defendants were assumptions underlying or relating to any plan, projection, or
 statement of future economic performance, as they were not stated to be such
 assumptions underlying or relating to any projection or statement of future economic
 performance when made, nor were any of the projections or forecasts made by the
 defendants expressly related to or stated to be dependent on those historic or present-
 tense statements when made.



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                PLAINTIFF’S CLASS ACTION ALLEGATIONS
       181. Plaintiff brings this action as a class action pursuant to Federal Rule of
 Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who
 purchased or otherwise acquired Honeywell securities during the Class Period (the
 “Class”); and were damaged upon the revelation of the alleged corrective disclosure.
 Excluded from the Class are defendants herein, the officers and directors of
 Honeywell, at all relevant times, members of their immediate families and their legal
 representatives, heirs, successors or assigns and any entity in which defendants have
 or had a controlling interest.
       182. The Class members are so numerous that joinder of all members is
 impracticable. Throughout the Class Period, Honeywell common stock was actively
 traded on the New York Stock Exchange. While the exact number of Class members
 is unknown to Plaintiff at this time and can be ascertained only through appropriate
 discovery, Plaintiff believe that there are hundreds or thousands of members in the
 proposed Class. Record owners and other Class members may be identified from
 records maintained by Honeywell or its transfer agent and may be notified of the
 pendency of this action by mail, using the form of notice similar to that customarily
 used in securities class actions. As of September 30, 2018, there were 740,288,303
 shares of Honeywell common stock outstanding. Upon information and belief, these
 shares are held by thousands, if not millions, of individuals located throughout the
 country and possibly the world. Joinder would be highly impracticable.
       183. Plaintiff’s claims are typical of the claims of the Class members as all
 Class members are similarly affected by Defendants’ wrongful conduct in violation
 of federal law that is complained of herein.
       184. Plaintiff will fairly and adequately protect the interests of the Class
 members and have retained counsel competent and experienced in class and



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 securities litigation. Plaintiff has no interests antagonistic to or in conflict with those
 of the Class.
       185. Common questions of law and fact exist as to all Class members and
 predominate over any questions solely affecting individual Class members. Among
 the questions of law and fact common to the Class are:
                 a.   whether the federal securities laws were violated by Defendants’
                      acts as alleged herein;
                 b.   whether statements made by Defendants to the investing public
                      during the Class Period misrepresented material facts about the
                      business, operations, practices, policies and management of
                      Honeywell;
                 c.   whether the Individual Defendants caused Honeywell to issue
                      materially false and misleading statements during the Class
                      Period;
                 d.   whether Defendants acted knowingly or recklessly in issuing
                      false and misleading statements;
                 e.   whether the prices of Honeywell securities during the Class
                      Period were artificially inflated because of Defendants’ conduct
                      complained of herein; and
                 f.   whether the Class members have sustained damages and, if so,
                      what is the proper measure of damages.
       186. A class action is superior to all other available methods for the fair and
 efficient adjudication of this controversy since joinder of all members is
 impracticable. Furthermore, as the damages suffered by individual Class members
 may be relatively small, the expense and burden of individual litigation make it
 impossible for Class members to individually redress the wrongs done to them.
 There will be no difficulty in the management of this action as a class action.

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                                       COUNT I
        Against Defendants for Violations of Section 10(b) and Rule 10b-5
       187. Plaintiff repeats and realleges each and every allegation contained
 above as if fully set forth herein.
       188. This Count is asserted against defendants and is based upon Section
 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
 thereunder by the SEC.
       189. During the Class Period, Defendants engaged in a plan, scheme,
 conspiracy and course of conduct, pursuant to which they knowingly or recklessly
 engaged in acts, transactions, practices and courses of business which operated as a
 fraud and deceit upon Plaintiff and the other Class members; made various untrue
 statements of material facts and omitted to state material facts necessary in order to
 make the statements made, in light of the circumstances under which they were
 made, not misleading; and employed devices, schemes and artifices to defraud in
 connection with the purchase and sale of securities. Such scheme was intended to,
 and, throughout the Class Period, did: (i) deceive the investing public, including
 Plaintiff and the other Class members, as alleged herein; (ii) artificially inflate and
 maintain the market price of Honeywell securities; and (iii) cause Plaintiff and the
 other Class members to purchase or otherwise acquire Honeywell securities at
 artificially inflated prices. In furtherance of this unlawful scheme, plan and course
 of conduct, Defendants, and each of them, took the actions set forth herein.
       190. Pursuant to the above plan, scheme, conspiracy and course of conduct,
 each of the Defendants participated directly or indirectly in the preparation and/or
 issuance of the quarterly and annual reports, SEC filings, press releases and other
 statements and documents described above, including statements made to securities
 analysts and the media that were designed to influence the market for Honeywell
 securities. Such reports, filings, releases and statements were materially false and

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 misleading in that they failed to disclose material adverse information and
 misrepresented the truth about Honeywell’s finances and business prospects.
       191. By virtue of their positions at Honeywell, Defendants had actual
 knowledge of the materially false and misleading statements and material omissions
 alleged herein and intended thereby to deceive Plaintiff and the other Class
 members, or, in the alternative, Defendants acted with reckless disregard for the truth
 in that they failed or refused to ascertain and disclose such facts as would reveal the
 materially false and misleading nature of the statements made, although such facts
 were readily available to Defendants. Said acts and omissions of Defendants were
 committed willfully or with reckless disregard for the truth. In addition, each
 Defendant knew or recklessly disregarded that material facts were being
 misrepresented or omitted as described above.
       192. Information showing that Defendants acted knowingly or with reckless
 disregard for the truth is peculiarly within Defendants’ knowledge and control. As
 the senior managers and/or directors of Honeywell, the Individual Defendants had
 knowledge of the details of Honeywell’s internal affairs.
       193. The Individual Defendants are liable both directly and indirectly for the
 wrongs complained of herein. Because of their positions of control and authority,
 the Individual Defendants were able to and did, directly or indirectly, control the
 content of the statements of Honeywell. As officers and/or directors of a publicly-
 held company, the Individual Defendants had a duty to disseminate timely, accurate,
 and truthful information with respect to Honeywell’s businesses, operations,
 controls, future financial condition and future prospects. As a result of the
 dissemination of the aforementioned false and misleading reports, releases and
 public statements, the market price of Honeywell securities was artificially inflated
 throughout the Class Period. In ignorance of the adverse facts concerning
 Honeywell’s accounting and controls which were concealed by defendants, Plaintiff

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 and the other Class members purchased or otherwise acquired Honeywell securities
 at artificially inflated prices and relied upon the price of the securities, the integrity
 of the market for the securities and/or upon statements disseminated by Defendants,
 and were damaged thereby.
       194. During the Class Period, Honeywell securities were traded on an active
 and efficient market. Plaintiff and the other Class members, relying on the materially
 false and misleading statements described herein, which the Defendants made,
 issued or caused to be disseminated, or relying upon the integrity of the market,
 purchased or otherwise acquired shares of Honeywell securities at prices artificially
 inflated by Defendants’ wrongful conduct. Had Plaintiff and the other Class
 members known the truth, they would not have purchased or otherwise acquired said
 securities, or would not have purchased or otherwise acquired them at the inflated
 prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff
 and the other Class members, the true value of Honeywell securities were
 substantially lower than the prices paid by Plaintiff and the other Class members.
 The market price of Honeywell securities declined sharply upon public disclosure of
 the facts alleged herein to have been misrepresented or omitted by Defendants to the
 injury of Plaintiff and other Class members.
       195. By reason of the conduct alleged herein, Defendants knowingly or
 recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act
 and Rule 10b-5 promulgated thereunder.
       196. As a direct and proximate result of Defendants’ wrongful conduct,
 Plaintiff and the other Class members suffered damages in connection with their
 respective purchases, of Honeywell securities during the Class Period, upon the
 disclosure that it had been disseminating misrepresented facts about Honeywell and
 its business, controls, practices and policies to the investing public.



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                                      COUNT II
        Against the Individual Defendants for Violations of Section 20(a)
       197. Plaintiff repeats and realleges each and every allegation contained in
 the foregoing paragraphs as if fully set forth herein.
       198. During the Class Period, the Individual Defendants participated in the
 operation and management of Honeywell, and conducted and participated, directly
 and indirectly, in the conduct of Honeywell’s business affairs. Because of their
 senior positions, they knew the adverse non-public information about Honeywell’s
 misstatement of its accounting and controls.
       199. As officers and/or directors of a publicly owned company, the
 Individual Defendants had a duty to disseminate accurate and truthful information
 with respect to Honeywell’s accounting and controls, and to correct promptly any
 public statements issued by Honeywell which had become materially false or
 misleading.
       200. Because of their positions of control and authority as senior officers,
 the Individual Defendants were able to, and did, control the contents of the various
 reports, press releases and public filings which Honeywell disseminated in the
 marketplace during the Class Period concerning Honeywell’s accounting and
 controls. Throughout the Class Period, the Individual Defendants exercised their
 power and authority to cause Honeywell to engage in the wrongful acts complained
 of herein. The Individual Defendants therefore, were “controlling persons” of
 Honeywell within the meaning of Section 20(a) of the Exchange Act. In this
 capacity, they participated in the unlawful conduct alleged which artificially inflated
 the market price of Honeywell securities.
       201. Each of the Individual Defendants, therefore, acted as a controlling
 person of Honeywell. By reason of their senior management positions and/or being
 directors of Honeywell, each of the Individual Defendants had the power to direct

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 the actions of, and exercised the same to cause, Honeywell to engage in the unlawful
 acts and conduct complained of herein. Each of the Individual Defendants exercised
 control over the general operations of Honeywell and possessed the power to control
 the specific activities which comprise the primary violations about which Plaintiff
 and the other Class members complain.
       202. By reason of the above conduct, the Individual Defendants are liable
 pursuant to Section 20(a) of the Exchange Act for the violations committed by
 Honeywell.
                              PRAYER FOR RELIEF
       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and
 severally, as follows:
              a.     Determining that the instant action may be maintained as a class
                     action under Rule 23 of the Federal Rules of Civil Procedure, and
                     certifying Plaintiff as the Class representative and his counsel as
                     Class Counsel;
              b.     Requiring Defendants to pay damages sustained by Plaintiff and
                     the other Class members by reason of the acts and transactions
                     alleged herein;
              c.     Awarding Plaintiff and the other Class members pre-judgment
                     and post-judgment interest, as well as their reasonable attorneys’
                     fees, expert fees and other costs; and
              d.     Awarding such other and further relief as this Court may deem
                     just and proper.
                          DEMAND FOR TRIAL BY JURY
       Plaintiff hereby demands a trial by jury.




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 Dated: April 10, 2019              LEVI & KORSINSKY, LLP

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                           CERTIFICATE OF SERVICE
       I, Eduard Korsinsky, hereby certify that on April 10, 2019, I authorized the
 electronic filing of the foregoing with the Clerk of the Court using the CM/ECF
 system which will send notification of such filing to the registered participants as
 identified on the Notice of Electronic Filing.

                                             /s/ Eduard Korsinsky
                                             Eduard Korsinsky
